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                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


In re:                                                         Chapter 11

BED BATH & BEYOND INC., et al.,                                Case No. 23-13359 (VFP)

                                        Debtors.1              (Jointly Administered)



                                             NOTICE OF REMOVAL

           Bed Bath & Beyond, Inc. (“BBB”) files this Notice of Removal from the Superior Court

of New Jersey Law Division, Union County to the United States Bankruptcy Court for the District



1
       The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
       the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
       Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11
       Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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of New Jersey (“Bankruptcy Court”) pursuant to 28 U.S.C. § 1452(a), Rule 9027 of the Federal

Rules of Bankruptcy Procedure (“Bankruptcy Rules”), and Local Rule 9027-1 of the Local Rules

of the United States Bankruptcy Court for the District of New Jersey (“Local Rules”). Under Local

Rule 9027-1(a), this pleading is filed with the Clerk of Court for the Bankruptcy Court.

I.     BACKGROUND

       A.      The Parties

       1.      BBB is incorporated under the laws of the State of New York. Its principal place

of business is 650 Liberty Avenue, Union, New Jersey 07083.

       2.      Mara Sirhal (the “Defendant”) is an individual residing in South Orange, New

Jersey. The Defendant was employed at BBB as Executive Vice President, Brand President, Bed

Bath & Beyond, until her voluntary resignation without good reason effective April 9, 2023.

       B.      Factual Summary

       3.      The facts below have been summarized from the complaint (the “Complaint”)

initiating the lawsuit filed on April 21, 2023 by Debtor Bed Bath & Beyond, Inc. against Mara

Sirhal in the Superior Court of New Jersey Law Division, Union County captioned Bed Bath &

Beyond, Inc. v. Mara Sirhal, Docket No. UNN-L-001291-23 (“Lawsuit”). A true and accurate

copy of the Complaint is attached hereto as Exhibit A-2 and incorporated herein by reference.

       4.      The Defendant began her employment with BBB on or about December 14, 2020.

Over the course of the Defendant’s employment, BBB paid to the Defendant three bonuses that

form the basis for the damages sought in the Complaint: (a) a recognition award in the amount of

$106,250 (the “Recognition Award”) paid on May 26, 2022; (b) a sign-on bonus in the amount of

$220,000 paid on or about June 28, 2022; and (c) a retention bonus in the amount of $314,000

(the “Retention Bonus,” and, together with the Recognition Award and the Sign-On Bonus, the

“Bonuses”) paid on or around February 7, 2023. The terms of each of the Bonuses provided that
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the Defendant would be required to repay certain amounts thereof if she resigned her employment

before certain milestones. Specifically, the Defendant was required to repay the Sign-On Bonus

in the event that she resigned from her employment with BBB without “Good Reason,” as defined

in the employment agreement between BBB and the Defendant.

       5.      On March 10, 2023, the Defendant gave written notice to BBB of her resignation,

asserting that such resignation was for “Good Reason.” On March 16, 2023, BBB’s Chief Legal

Counsel delivered correspondence to the Defendant stating BBB’s disagreement with the

Defendant’s assertion of “Good Reason,” accepting the Defendant’s resignation effective April 9,

2023, and notifying the Defendant that her resignation without “Good Reason,” paired with the

timing of such resignation, triggered the obligation to repay portions of the bonuses totaling

$353,768.16 to BBB.

       6.      On March 20, 2023, counsel to the Defendant delivered correspondence to BBB

denying that the Defendant owed any amounts to BBB and asserting the Defendant’s entitlement

to the payment of certain amounts allegedly due to her under the terms of the Employment

Agreement.

       7.      BBB filed the Complaint on April 21, 2023.

       C.      BBB’s Chapter 11 Cases

       8.      On April 23, 2023 (the “Petition Date”), above-captioned debtors and debtors in

possession (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of title

11 of the United States Code (“Bankruptcy Code”) with the United States Bankruptcy Court for

the District of New Jersey (the “Bankruptcy Court”). BBB was among the entities that filed for

chapter 11. See Exhibit B-1 (Voluntary Petition for Non-Individuals Filing for Bankruptcy, In re

Bed Bath & Beyond, Inc., No. 23-13359 (Bankr. D. N.J. Apr. 23, 2023) [Docket No. 1]). The Court

consolidated the chapter 11 cases for procedural purposes and ordered their joint administration.
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See Exhibit B-2 (Order (I) Directing Joint Administration of Chapter 11 Cases and (II) Granting

Related Relief [Docket No. 75]).

II.       THE BANKRUPTCY COURT’S JURISDICTION AND BASIS FOR REMOVAL2

          9.       Section 1452 allows a party to “remove any claim or cause of action in a civil action

other than a proceeding before the United States Tax Court or a civil action by a governmental unit

to enforce such governmental unit’s police or regulatory power, to the district court for the district

where such civil action is pending, if such district court has jurisdiction of such claim or cause of

action under section 1334 of this title.” 28 U.S.C. § 1452(a). Section 1334 grants this court

original jurisdiction over all civil proceedings “arising under title 11, or arising in or related to

cases under title 11.” 28 U.S.C. § 1334(b).

          10.      A proceeding is “related to” a bankruptcy case if it is owned by the debtor and

becomes property of the estate under section 541(a) of the Bankruptcy Code or “conceivably may

have an effect on the bankruptcy estate.” In re Combustion Eng’g, 391 F.3d 190, 226 (3d Cir.

2018) (citation omitted). “A cause of action is considered property of the estate if the claim existed

at the commencement of the filing and the debtor could have asserted the claim on [its] own behalf

under state law.” Board of Trustees of Teamsters Local 863 Pension Fund v. Foodtown, Inc., 296

F.3d 164, 169 n.5 (3d Cir. 2002) (citation omitted). Further, the court’s “related to” jurisdiction

encompasses an action “if the outcome could alter the debtor’s rights, liabilities, options, or

freedom of action (either positively or negatively) and which in any way impacts upon the handling

and administration of the bankrupt estate.” Combustion Eng’g, 391 F.3d at 226 (citation omitted).




2
      A notice of removal must “contain a short and plain statement of the facts which entitle the party filing the notice
      to remove.” Fed. R. Bankr. P. 9027(a)(1).
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The Supreme Court has held that “related to” jurisdiction under 28 U.S.C. § 1334(b) should be

interpreted broadly. Celotex Corp. v. Edwards, 514 U.S. 300, 307–08 (1995).

        11.     The causes of action at issue are indisputably property of BBB’s bankruptcy estate.

All of the events giving rise to the causes of action in the Complaint occurred before the Petition

Date. Likewise, BBB not only could have filed, but did file the Complaint before the Petition

Date, on April 21, 2023. Accordingly, the causes of action asserted in the Complaint are property

of BBB’s bankruptcy estate and the Bankruptcy Court has “related to” jurisdiction over them under

28 U.S.C. § 1334(b).

        12.     Even if the causes of action asserted in the Complaint weren’t property of BBB’s

bankruptcy estate, the Bankruptcy Court would nevertheless have “related to” jurisdiction over

them because of their conceivable effect on BBB’s estate. As discussed above, through the

Complaint BBB seeks repayment of more than $350,000 from the Defendant on account of various

bonuses paid to her before her resignation. If successful, those claims will generate value for

BBB’s estate that will be available for distribution to BBB’s creditors once a chapter 11 plan is

confirmed. As such, these causes of action fall squarely within the Bankruptcy Court’s “related

to” jurisdiction.

        13.     For these reasons, removal is permitted under 28 U.S.C. § 1452(a).

        14.     Removal is timely pursuant to Bankruptcy Rule 9027(a)(3) and the Bankruptcy

Court’s Order Enlarging the Period Within Which the Debtors May Remove Actions and (II)

Granting Related Relief [Docket No. 1403] because this Notice of Removal is filed before

November 21, 2023. See Exhibit B-3.
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       15.     Venue is proper in the District of New Jersey under 28 U.S.C. § 1452(a) because

the New Jersey state court where the Lawsuit is pending is located in this district. Venue is also

proper in the Bankruptcy Court.

III.   COMPLIANCE WITH RULE 9027 AND LOCAL RULE 9027

       16.     Bankruptcy Rule 9027(a)(1) requires that this Notice of Removal contain a

statement that, upon removal of the cause of action, the party filing the notice does or does not

consent to the entry of final orders or judgment by the bankruptcy court. BBB consents to the

entry of final orders or judgments by the Bankruptcy Court.

       17.     Local Rule 9027-1(c) requires the removing party to, within 14 days after the filing

the Notice of Removal, “file with the clerk of the bankruptcy court a copy of the docket sheet and

all pleadings from the original court.” Exhibit A contains copies of those papers.

       18.     Contemporaneously herewith, a Notice of Removal will be filed with the Clerk of

Court for the Superior Court of New Jersey Law Division, Union County and on the chapter 11

docket in the Bankruptcy Court.
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Dated: August 3, 2023
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                                    Exhibit A

                     State Court Docket Sheet and Pleadings

                                A-1. Docket Sheet

                                 A-2. Complaint

                                   A-3. Answer
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                                   Exhibit A-1

                                   Docket Sheet
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  CASE JACKET                                                                                                                                         User:MAXINE NEUHAUSER


 Docket Number: UNN L 001291 - 23
    Back                                                                                                                                        Create Summary Report

 Case Caption: Bed Bath & Beyond In C. Vs Sirhal Mara
 Court: Civil Part                                                                Venue: Union                               Case Initiation Date: 04/21/2023
 Case Type: Employment (Other Than Cepa Or Lad)                                   Case Status: Active                        Jury Demand: 12 Jurors
 Case Track: 2                                                                    Judge: Mark P Ciarrocca                    Team: 1
 # of Discovery Days: 300                                                         Age of Case: 00 YR 03 MO                   Consolidated Case: N
 Original Discovery End Date: 03/10/2024                                          Current Discovery End Date: 03/10/2024     # of DED Extensions: 0
 Original Arbitration Date:                                                       Current Arbitration Date:                  # of Arb Adjournments: 0
 Original Trial Date:                                                             Current Trial Date:                        # of Trial Date Adjournments: 0
 Disposition Date:                                                                Case Disposition: Open                     Statewide Lien:

   Plaintiffs (1)       Defendants (1)       ACMS Documents (6)     Fees (6)


        Bed Bath & Beyond Inc.



 Case Actions


   Filed Date            Filings                                               Docket Text                                     Transaction ID                Entry Date

                                         Complaint with Jury Demand for UNN-L-001291-23 submitted by NEUHAUSER, MAXINE H,
  04/21/2023                             EPSTEIN BECKER & GREEN PC on behalf of BED BATH & BEYOND INC. against MARA         LCV20231339301            04/21/2023
                                         SIRHAL


  04/22/2023                             TRACK ASSIGNMENT Notice submitted by Case Management                               LCV20231341327            04/22/2023


                                         PROOF OF SERVICE submitted by NEUHAUSER, MAXINE, H of EPSTEIN BECKER & GREEN
  04/27/2023                                                                                                                LCV20231385824            04/27/2023
                                         PC on behalf of BED BATH & BEYOND INC. against MARA SIRHAL

                                         NOTICE OF APPEARANCE (NOT THE FIRST PAPER) submitted by DWORKIN, MARSHALL, O
  05/15/2023                             of MORITT HOCK & HAMROFF LLP on behalf of MARA SIRHAL against BED BATH & BEYOND    LCV20231550153            05/15/2023
                                         INC.

                                         NOTICE OF APPEARANCE (NOT THE FIRST PAPER) submitted by DWORKIN, MARSHALL, O
  05/15/2023                             of MORITT HOCK & HAMROFF LLP on behalf of MARA SIRHAL against BED BATH & BEYOND    LCV20231550156            05/15/2023
                                         INC.

                                         STIPULATION TO EXTEND TIME FOR ANSWER submitted by DWORKIN, MARSHALL, O of
  05/29/2023                             MORITT HOCK & HAMROFF LLP on behalf of MARA SIRHAL against BED BATH & BEYOND       LCV20231659469            05/29/2023
                                         INC.

                                         Answer W/Jury Demand submitted by DWORKIN, MARSHALL, O of MORITT HOCK &
  07/31/2023                                                                                                                LCV20232221561            07/31/2023
                                         HAMROFF LLP on behalf of MARA SIRHAL against BED BATH & BEYOND INC.

Showing 1 to 7 of 7 entries




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                                    Exhibit A-2

                                    Complaint
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Attorneys for Plaintiff
Bed Bath & Beyond Inc.


 BED BATH & BEYOND INC.,                           SUPERIOR COURT OF NEW JERSEY
                                                   LAW DIVISION:
          Plaintiff,                               UNION COUNTY

                                                   Docket No. UNN-L-
 v.
                                                                   CIVIL ACTION

 MARA SIRHAL,
                                                                    COMPLAINT
          Defendant.


         Plaintiff Bed Bath & Beyond Inc. files this Complaint against defendant Mara Sirhal, and

in support thereof avers as follows:

                                          THE PARTIES

      1. Bed Bath & Beyond Inc. (“BBB” or the “Company”) is a New York corporation with a

principal place of business located at 650 Liberty Avenue, Union, New Jersey.

      2. Mara Sirhal (“Sirhal”) is an individual residing in South Orange, New Jersey. Sirhal was

employed by BBB as Executive Vice President, Brand President, Bed Bath & Beyond, until her

voluntary resignation without good reason effective April 9, 2023.

                                  JURISDICTION AND VENUE

      3. This Court has subject matter jurisdiction over the controversy and personal jurisdiction

over the parties.

      4. Venue is proper in Union County under Rule 4:3-1, et seq.

                                   FACTUAL ALLEGATIONS

                                                  1

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    5. BBB is a retailer that sells a wide assortment of merchandise, principally including

domestic merchandise and home furnishings under two brands currently, Bed Bath and Beyond

and buybuy Baby.

    6. Harmon Face Values (also known as Harmon Discount, Harmon Discount Health &

Beauty, or simply Harmon) was a retail chain of stores that mainly sold healthcare and beauty

supplies at a discounted price, and which was owned by BBB from March 2002 to its closure in

January 2023.

    7. On or about December 14, 2020, BBB employed Sirhal as Senior Vice President, GM,

Harmon Beauty. Soon after, she was promoted to Senior Vice President, GMM,

Health/Beauty/Consumables at Bed Bath & Beyond and Senior Vice President, GM, Harmon

Beauty.

    8. On May 16, 2022, Sirhal signed a Recognition Award Agreement with BBB pursuant to

which she received a Recognition Award of $106,250.00, less applicable deductions and

withholdings on May 26, 2022 (the “Pay Date”). (Ex. A). The Recognition Award Agreement

provided that in the event Sirhal resigned within 12 months of the Pay Date (i.e., before May 26,

2023), she would be required to repay to the Company a prorated after-tax portion of the award

on or before her last day of employment, equal to the percentage of time she would not work

looking at the calendar days between the Pay Date and her termination date.

    9. The following month, Sirhal signed an Employment Agreement with BBB which became

effective June 28, 2022 (“Employment Agreement”). (Ex. B).

    10. Pursuant to the Employment Agreement Sirhal became Executive Vice President, Chief

Merchandising Officer and General Manager, Harmon, reporting to BBB’s Chief Executive

Officer (CEO) and among other things:

             a. received an annual Base Salary of $550,000.00 (Ex. B at ¶3(a)),

                                                2

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             b. was eligible for an annual cash performance bonus (“Annual Bonus”) up to 70%

                  of her base salary (Ex. B at ¶3(b)), and

             c. received a lump sum cash payment in the gross amount of $220,000.00, subject to

                  taxes and withholdings, as a one-time Sign-On Bonus (“Sign-On Bonus”). (Ex. B

                  at ¶3(e)).

    11. Sirhal agreed that in the event she resigned her employment without Good Reason prior

to the first anniversary of the Employment Agreement’s Effective Date (i.e., before June 28,

2023), she would be obligated to repay the Sign-On Bonus, net of taxes. (Ex. B at ¶3(e)).

    12. “Good Reason” under the Employment Agreement includes, “without Executive’s written

consent … a material diminution in Executive’s duties, authority or responsibilities of

employment; provided, in each case, that Executive has given the Company written notice

detailing the specific circumstances alleged to constitute Good Reason within sixty (60) calendar

days after the first occurrence of such circumstances, and the Company shall have thirty (30)

calendar days following receipt of such notice to cure such circumstances in all material respects;

provided further, that no termination due to Good Reason shall occur after the one-hundred

twentieth (120th) calendar day following the first occurrence of any grounds for Good Reason.”

(Ex. B at ¶5(f)(iv)) (emphasis added).

    13. Effective August 31, 2022, the Employment Agreement was amended by the First

Amendment to Employment Agreement (the “Amendment”), pursuant to which Sirhal’s

position, duties and responsibilities under Section 1(b) of the Employment Agreement were

changed from duties and responsibilities consistent with the position of “Executive Vice

President, Chief Merchandising Officer and General Manager, Harmon” to duties and

responsibilities consistent with the position of “Executive Vice President, Brand President, Bed

Bath & Beyond.” (Ex. C at ¶1).

                                                    3

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    14. Under the Amendment, Sirhal explicitly agreed to take on, and in fact did take on,

substantially increased duties and higher level responsibilities including new responsibilities for

running the BBB and Harmon brands, e.g., store operations, merchandising, and profit and loss

(P&L).

    15. By Sirhal’s own description on her LinkedIn as of April 21, 2023, she stated that she had

a “President role with full P&L ownership for both Bed, Bath & Beyond and Harmon Health &

Beauty retail banners. Functional responsibility for Merchandising, Planning, Stores, Brand

Marketing and Site Merchandising verticals. Full responsibility of end to end customer

experience across all channels.” (Ex. D)

    16. Consistent with her new title and elevated duties and responsibilities, the Amendment

increased Sirhal’s Base Salary $50,000.00 to $600,000.00 and increased her Annual Bonus

opportunity to 75% of her Base Salary, thereby increasing her potential bonus to $65,000.00 (i.e.,

from $385,000.00 to $450,000.00).

    17. As Brand President, Sirhal reported to the Company’s CEO, Susan Gove, who met with

her for weekly one-on-one meetings. Sirhal would stop into Ms. Gove’s office to talk at other

times as well.

    18. At the end of 2022, Sirhal asked Ms. Gove for an executive job coach and Ms. Gove

agreed.

    19. The Company engaged a job coach for Sirhal, who focused particularly on helping Sirhal

develop leadership skills. Sirhal’s job coach conducted a 360-assessment of Sirhal, which was

completed in early 2023. Of note, although the job coach three-times scheduled a meeting with

Sirhal to review the 360 report, and it was cancelled each time.

    20. Sirhal knew of BBB’s and Harmon’s financial situation and the challenges within which

she had to operate her brand. In fact, the businesses for which Sirhal had responsibility were the

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Company’s worst performing operations at that time. As Brand President, she was the one

responsible for the business, and for driving the profitability of her brands. She was an integral

part of the decision making regarding her brands and the closures. She was the one responsible

for her brands’ P&L. In January 2023, she continued to be intimately involved in BBB’s

planning and efforts to maintain the BBB brand.

    21. In light of what the Company considered her critical contributions to this effort, on or

around February 7, 2023, BBB offered and Sirhal accepted a Retention Bonus agreement to

incentivize her to stay employed by BBB in order to help get the job done. (Ex. E). Toward this

end, and pursuant to the Retention Bonus agreement, BBB paid Sirhal $314,000.00, which she

would not be required to repay provided “you are employed by the Company on the Completion

Date” of June 8, 2023.

    22. Of note, she entered into the agreement and accepted the Retention Bonus after the plans

for closure of Harmon and a number of BBB stores.

    23. The unambiguous, irrefutable purpose of the retention agreement and substantial

payment paid to Sirhal were intended, designed, and understood by both the Company and Sirhal

to keep her talents and make sure she would remain part of BBB’s “all hands on deck” efforts to

save the Company.

    24. Unfortunately, it soon became apparent that Sirhal harbored a different plan. During her

discussions with BBB relating to the Retention Bonus, she did not advise the Company that if

she signed the Retention Bonus it was her intention to resign anyway after receiving the bonus

payment and not repay the Company. The timing of Sirhal’s resignation makes it indisputably

plain that she never had any intention to stay.




                                                  5

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    25. No sooner had the ink dried on the Retention Bonus Agreement, Sirhal gave written

notice that she was resigning her employment. (Ex. F). By letter dated March 10, 2023, Sirhal

asserted that she was doing so for Good Reason citing three purported grounds:

             a. First, Sirhal asserted, “there has been a material diminution of my duties,

                  authority, and responsibilities due to the closure of the Harmon Health & Beauty

                  business and the closing of all its 54 Harmon freestanding stores and web

                  business[;]”

             b. Second, she asserted, “There has also been a material diminution of my duties,

                  authorities, and responsibilities with the subsequent closure or planned closure of

                  an additional 149 Bed Bath & Beyond stores[;]” and

             c. Third, she asserted, “There has also been a diminishment of my decision-making

                  role and authority, particularly regarding inventory procurement and staff

                  resources.”

    26. In fact, during the 60 days prior to Sirhal’s resignation, no material diminution of Sirhal’s

duties, authority or critical responsibilities occurred. Sirhal’s level of responsibility never

diminished. She continued to be responsible for P&L. She continued to be responsible for BBB

operations and merchandising. She continued to report to the CEO. She presented to the Board.

She continued to have an executive job coach. As of March 10, 2023, Sirhal had continuing high

level responsibilities with respect to BBB’s global brand.

    27. To the extent that Sirhal’s duties and responsibilities with respect to Harmon diminished,

the first occurrence of such diminishment began more than 60 days before March 10, 2023, and

therefore cannot constitute Good Reason. Moreover, she was part of the decision making team.

    28. Sirhal admitted as much in her resignation letter, in which she acknowledged that

transitioning of her duties could take months, which was plainly inconsistent with her self-

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serving claim to have resigned for Good Reason because of diminished duties. Furthermore,

Sirhal accepted the $314,000.00 payment under her Retention Bonus agreement given to her for

the purpose of retaining her to continue working through June 8, 2023.

    29. After she sent her letter, Sirhal essentially disengaged in a play to avoid repaying the

Sign-On and Retention Bonuses BBB had paid to her in good faith, and to assert bogus

entitlement to termination benefits.

    30. Sirhal admittedly failed to provide the 30 days’ notice required by the Employment

Agreement to invoke resignation for Good Reason and denied BBB the opportunity to cure

provided by the Employment Agreement by unilaterally declaring that any such opportunity to

cure would be futile. Her breach of the notice and cure provisions of the Employment

Agreement, bars Sirhal from invoking the Good Reason provision of the agreement.

    31. In short, Sirhal’s resignation was voluntary and not for Good Reason.

    32. On March 16, 2023, David M. Kastin, BBB’s Executive Vice President – Chief Legal

Counsel wrote a letter to Sirhal advising that “the Company does not agree that Good Reason

exists” and accepting her voluntary resignation effective April 9, 2023, for other than Good

Reason and explaining that her voluntary resignation for other than Good Reason triggered

obligations for her to immediately repay BBB $353,768.16. (Ex. G).

    33. As explained in Mr. Kastin’s letter:

             a. because Sirhal resigned other than for Good Reason prior to the first anniversary

                  of the effective date of her Employment Agreement, she was obligated to

                  immediately repay the after-tax portion of her Sign-On Bonus;

             b. because Sirhal resigned prior to June 8, 2023, the completion date of the

                  Retention Bonus agreement, she was required to immediately repay the after-tax

                  portion of her Retention Bonus; and

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             c. because she resigned before May 26, 2023, which would have been the twelve-

                  month anniversary of the payment of the recognition award pursuant to the

                  Recognition Award Agreement dated May 16, 2022, he requested immediate

                  repayment of the prorated after-tax portion of Sirhal’s Recognition Award.

    34. By letter dated March 20, 2023, an attorney replied to Mr. Kastin’s letter on behalf of

Sirhal, denying that Sirhal owed BBB anything. (Ex. H). The letter reiterated Sirhal’s assertion

that her resignation was for Good Reason and claimed that Sirhal was therefore entitled to (i)

$600,000.00 base salary and her target bonus of $450,000.00 over the 12-month period following

her last day of employment, (ii) immediate vesting of her one-time RSU award and (iii) payment

of her COBRA payments as benefits under her Employment Agreement.

    35. Sirhal’s last date of employment by BBB was April 9, 2023.

    36. Sirhal has failed and refused to repay BBB the money she owes pursuant to the Sign-On

Bonus agreement, Retention Bonus agreement and Recognition Award agreement.



                                      COUNT ONE
      (Breach of Contract – Employment Agreement and First Amendment to Employment
                                       Agreement)

    37. As set forth above, Sirhal voluntarily resigned her employment for reasons other than Good

Cause before June 28, 2023 (i.e., the first anniversary of the effective date of the Employment

Agreement).

    38. Accordingly, pursuant to the terms of the Employment Agreement and Amendment, Sirhal

is obligated to repay BBB the after tax portion of the Sign-On Bonus of $220,000.00.

    39. Sirhal has failed and refused to repay the bonus as required.




                                                  8

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      40. Sirhal’s failure and refusal to repay the after-tax portion of the Sign-On Bonus and the

prorated portion of the Recognition Award pursuant to her agreements with BBB constitutes

breach of contract.

      WHEREFORE BBB demands judgment against Sirhal as follows:


          (a)     compensatory damages in the amount of $220,000.00 net taxes, plus pre- and post-

          judgment interest;

          (b)     punitive damages;

          (c)     costs of suit and attorney’s fees; and

          (d)     such other relief as the Court deems just and equitable.

                                            COUNT TWO
                                (Breach of Contract – Retention Bonus)

      41. BBB repeats the allegations set forth in paragraphs 1 through 40 as if set forth at length

herein.

      42. Sirhal voluntarily resigned her employment before June 8, 2023, and has failed and

refused to repay her after-tax portion of the bonus in breach of her contractual agreement to do

so.

      WHEREFORE BBB demands judgment against Sirhal as follows:

          (a)     compensatory damages in the amount of $314,000.00 net taxes, plus pre- and

          post-judgment interest;

          (b)     punitive damages;

          (c)     costs of suit and attorney’s fees; and

          (d)     such other relief as the Court deems just and equitable.

                                         COUNT THREE
                        (Breach of Contract – Recognition Award Agreement )


                                                    9

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    43. BBB repeats the allegations set forth in paragraphs 1 through 42 as if set forth at length

herein.

    44. Sirhal voluntarily resigned her employment before May 16, 2023, i.e., within 12 months

of the Pay Date of the Recognition Award. Accordingly, she was contractually required to repay

BBB the prorated after-tax portion of the Recognition Award, i.e., $8,997.89, on or before her

last day of employment.

    45. In breach of the Recognition Award Agreement Sirhal has failed and refused to remit the

payment.

          WHEREFORE BBB demands judgment against Sirhal as follows:

             a. compensatory damages in the amount of $8,997.89 plus pre- and post-judgment

                  interest;

             b. punitive damages;

             c. costs of suit and attorney’s fees; and

             d. such other relief as the Court deems just and equitable.

                                          COUNT FOUR
                       (Breach of the Covenant of Good Faith and Fair Dealing)

    46. BBB repeats the allegations set forth in paragraphs 1 through 45 as if set forth at length

herein.

    47. The purpose of the Retention Bonus agreement with Sirhal and the reason that BBB paid

her $314,000.00 was for her to remain employed by BBB until at least June 8, 2023. By

resigning before that date, Sirhal destroyed BBB’s rights to receive the agreed upon fruits of the

Retention Bonus agreement.

    48. By signing the agreement and accepting payment with full knowledge of what was going

on at BBB with regard to its continuing viability and then turning around and walking out the


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door with the money paid to her in good faith still in her pocket, Sirhal’s conduct breached her

duty of good faith and fair dealing to BBB.

    49. Sirhal’s falsely asserting that she was resigning for Good Reason and falsely asserting

entitlement to termination benefits similarly constitutes breach of her duty of good faith and fair

dealing under the Employment Agreement and Amendment.

    WHEREFORE BBB demands judgment against Sirhal as follows:

          (a)     compensatory damages in the amount of $354,768.16, plus pre- and post-

          judgment interest;

          (b)     punitive damages;

          (c)     costs of suit and attorney’s fees; and

          (d)     such other relief as the Court deems just and equitable.

                                                COUNT FIVE
                                           (Fraud – Retention Bonus)

    50. BBB repeats the allegations set forth in paragraphs 1 through 49 as if set forth at length

herein.

    51. Sirhal engaged in discussions with BBB, signed the Retention Bonus Agreement and

accepted payment of the bonus without ever disclosing to BBB that she had plans to resign and

had no intention of remaining in BBB’s employ through June 8, 2023.

    52. Her failure to disclose her intentions when entering into the Retention Bonus agreement

constituted material misrepresentation by omissions on which she expected BBB to rely and on

which the Company in fact did rely.

    53. Sirhal’s disingenuously couched resignation letter with its many false assertions

submitted on the very heels of signing the Retention Bonus agreement and receiving payment

abundantly demonstrates her scheming.


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    54. Sirhal actions in signing the Retention Bonus Agreement and accepting the retention

bonus under false pretenses constitutes fraud.

    WHEREFORE, BBB demands judgment against Sirhal as follows:


        (a)       compensatory damages in the amount of $314,000.00, plus pre- and post-judgment

        interest;

        (b)       punitive damages;

        (c)       costs of suit and attorney’s fees; and

        (d)       such other relief as the Court deems just and equitable.

                                      DEMAND FOR TRIAL BY JURY

        Plaintiff, Bed Bath & Beyond Inc., demands trial by jury.

                                   DESIGNATION OF TRIAL COUNSEL

        In accordance with R. 4:25-4, Jeremy Brown, Esq. is designated as trial counsel in this case.


                                                 EPSTEIN BECKER & GREEN, P.C.
                                                 Attorneys for Plaintiff
                                                 Bed Bath & Beyond Inc.


                                                 By: /s/ Jeremy M. Brown

                                                 By: /s/ Maxine H. Neuhauser
                                                              For the Firm
Dated: April 21, 2023



                          CERTIFICATION PURSUANT TO RULE 4:5-1

        The undersigned hereby certifies that the within matter in controversy is not the subject of

any other pending or contemplated court action or arbitration proceeding and knows of no

additional parties who should be joined in this action.


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                                          EPSTEIN BECKER & GREEN, P.C.
                                          Attorneys for Plaintiff
                                          Bed Bath & Beyond Inc.
Dated: April 21, 2023


                                            By: /s/ Jeremy M. Brown
                                               Jeremy M. Brown




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                                       CERTIFICATION

        I hereby certify, in accordance with Rule 4:5-1, that to the best of my knowledge,

information and belief that the instant matter in controversy is not the subject of any other action

pending in any court or of a pending proceeding, nor is any other action or arbitration proceeding

contemplated. I am not aware of the name of any other party who should be joined in the action.



                                                     /s/ Jeremy M. Brown
                                                     Jeremy M. Brown



Dated: April 21, 2023




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                  CERTIFICATION OF COMPLIANCE WITH RULE 1:38-7

        I certify that confidential personal identifiers have been redacted from documents now

submitted to the Court and will be redacted from all documents submitted in the future in

accordance with R. 1:38-7(b).


                                                   /s/ Jeremy M. Brown
                                                   Jeremy M. Brown


Dated: April 21, 2023




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                                                     New Jersey Judiciary
                                                     Civil Practice Division
                                Civil Case Information Statement (CIS)
               Use for initial Law Division Civil Part pleadings (not motions) under Rule 4:5-1.
               Pleading will be rejected for filing, under Rule 1:5-6(c), if information above the
                       black bar is not completed, or attorney’s signature is not affixed.

                                         For Use by Clerk’s Office Only
Payment type ☐ check Charge/Check Number Amount Overpayment Batch Number
              ☐ charge
                                                  $        $
              ☐ cash
Attorney/Pro Se Name                        Telephone Number             County of Venue
Jeremy M. Brown, Esq.                       (973)642-1900 ext.           Union
Firm Name (if applicable)                                  Docket Number (when available)
Epstein Becker & Green P.C.
Office Address - Street                      City                         State Zip
One Gateway Center, 13th Floor               Newark                       NJ     07102
Document Type                                                       Jury Demand
Complaint                                                           ■ Yes
                                                                    ☐           ☐ No
Name of Party (e.g., John Doe, Plaintiff) Caption
                                          Bed Bath & Beyond Inc. v. Mara Sirhal
Plaintiff
Case Type Number (See page 3 for listing) 509
Are sexual abuse claims alleged?                                                         ☐ Yes                ■ No
                                                                                                              ☐
Does this case involve claims related to COVID-19?                                       ☐ Yes                ■ No
                                                                                                              ☐
Is this a professional malpractice case?                                                 ☐ Yes                ■ No
                                                                                                              ☐
    If “Yes,” see N.J.S.A. 2A:53A-27 and applicable case law
    regarding your obligation to file an affidavit of merit.
Related Cases Pending?                                                                   ☐ Yes                ■ No
                                                                                                              ☐
   If “Yes,” list docket numbers

Do you anticipate adding any parties (arising out of same                                ☐ Yes                ■ No
                                                                                                              ☐
transaction or occurrence)?
Name of defendant’s primary insurance company (if known)                                 ☐ None               ■ Unknown
                                                                                                              ☐




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        The Information Provided on This Form Cannot be Introduced into Evidence.

Case Characteristics for Purposes of Determining if Case is Appropriate for Mediation
Do parties have a current, past or recurrent relationship?                               ■ Yes
                                                                                         ☐                    ☐ No
  If “Yes,” is that relationship:
  ☐■ Employer/Employee            ☐ Friend/Neighbor                           ☐ Familial              ☐ Business
  ☐ Other (explain)

Does the statute governing this case provide for payment of fees                         ■ Yes
                                                                                         ☐                    ☐ No
by the losing party?
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition.




       Do you or your client need any disability accommodations? ☐ Yes                                        ■ No
                                                                                                              ☐
         If yes, please identify the requested accommodation:

       Will an interpreter be needed?                                                   ☐ Yes                 ■ No
                                                                                                              ☐
         If yes, for what language?


I certify that confidential personal identifiers have been redacted from documents now
submitted to the court and will be redacted from all documents submitted in the future in
accordance with Rule 1:38-7(b).

Attorney/Self-Represented Litigant Signature:                    Jeremy Brown, Esq.




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                                           RECOGNITION AWARD AGREEMENT


             Mara Sirhal
             General Management Group

            As a people powered and performance-driven organization, we appreciate all of your hard work
            and effort. In recognition of your contribution, dedication and demonstration of our practices, we
            are pleased to provide you a Recognition Award of $ 106,250 . You will receive this award on
            May 26, 2022 (“Pay Date”), less applicable deductions and withholdings.

            If you resign your employment with the Company or are terminated with Cause within 12
            months of the Pay Date, you will repay to the Company a prorated portion of the Award on or
            before your last day of employment. The prorated portion shall be equal to the percentage of
            time you will not work looking at the calendar days between the Pay Date and your termination
            date. This will be based on the net amount of the Award (meaning that paid to you after
            deductions and withholdings).

            Cause means, as determined by the Company in its sole discretion, insubordination,
            dishonesty, fraud, moral turpitude, willful misconduct, refusal to perform your duties or
            responsibilities for any reason other than illness or incapacity or materially unsatisfactorily
            performing your duties for the Company.

            This Recognition Award Agreement is the only agreement between you and Bed Bath &
            Beyond, Inc. (the “Company”) regarding this Recognition Award. The Agreement replaces all
            other agreements about this Award and cannot be changed except in writing signed by an
            authorized representative of the Company. Any legal interpretation of this will be governed by
            the law of New Jersey.

            Thank you for your contribution to our transformation and success.




            I have read and agree to the foregoing.


            Dated:                           5/16/2022
                                             ___________________

            Associate Name (Print):          Mara Sirhal
                                             ___________________

            Associate Signature:             ____________________
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                                                                                      EXECUTION COPY


                                    EMPLOYMENT AGREEMENT

         THIS EMPLOYMENT AGREEMENT (this “Agreement”), dated as of June 28, 2022, is made by
and between Bed Bath & Beyond Inc., a New York corporation (the “Company”), and Mara Sirhal
(“Executive”). This Agreement shall govern the continued relationship between Executive and the
Company, with the terms and conditions hereunder applicable from and after June 28, 2022 (the “Effective
Date”); provided, however, that for all periods during which Executive was employed by the Company or
any of its Affiliates prior to the Effective Date, such employment shall be governed by the terms and
conditions of the offer letter by and between Executive and Company, dated as of December 14, 2020 (the
“Prior Agreement”) and applicable Company plans and policies, including, without limitation, any
applicable restricted covenants (which shall survive following the Effective Date for so long as necessary
to give effect thereto).

       WHEREAS, Executive has been employed by the Company as Senior Vice President, GMM &
General Manager, Harmon Face Values;

        WHEREAS, the Company now desires to continue to employ Executive as its Executive Vice
President, Chief Merchandising Officer and General Manager, Harmon effective as of the Effective Date
pursuant to the terms and conditions set forth in this Agreement; and

        WHEREAS, Executive is willing and able to continue to be employed by the Company and desires
to do so on the terms and conditions set forth herein.

         NOW, THEREFORE, in consideration of the above recitals incorporated herein and the mutual
covenants and promises contained herein and other good and valuable consideration, the receipt and
sufficiency of which are hereby expressly acknowledged, the parties agree as follows:

        1.      Retention and Duties.

        (a)     The Company hereby engages and employs Executive for the Term (as defined in Section
2) on the terms and conditions expressly set forth in this Agreement. Executive hereby accepts and agrees
to such engagement and employment, on the terms and conditions expressly set forth in this Agreement.

         (b)      During the Term, Executive shall serve as the Executive Vice President, Chief
Merchandising Officer and General Manager, Harmon of the Company, and shall perform such duties and
have such responsibilities as are consistent with such position and as may from time to time be assigned to
Executive by the Company’s Chief Executive Officer (“CEO”). As Executive Vice President, Chief
Merchandising Officer and General Manager, Harmon of the Company, Executive shall report to the CEO.
In addition, the CEO may from time to time, in his or her sole discretion, assign to Executive such other
duties, authorities and responsibilities that are not inconsistent with Executive’s position as the Executive
Vice President, Chief Merchandising Officer and General Manager, Harmon of the Company, including
without limitation, service as an officer and/or on the boards of directors and committees of one or more of
the Company’s subsidiaries, in each case, without additional compensation.

        (c)     Executive shall be located and perform her principal duties hereunder at the Company’s
principal headquarters located in Union, New Jersey. Executive acknowledges and agrees that she will be
expected to comply with Company policies regarding remote or hybrid work as Company may establish
from time to time. Notwithstanding the foregoing, Executive agrees and acknowledges that significant
travel may be part of the performance of her services hereunder.



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         (d)     During the Term, Executive shall devote her entire working time, attention, and energies
to the Company and shall not be engaged in any other business activity, whether or not such business
activity is pursued for gain, profit or other pecuniary advantage, without the consent of the Company’s
Board of Directors (the “Board”). While Executive serves as Executive Vice President, Chief
Merchandising Officer and General Manager, Harmon of the Company, the foregoing is not intended to
restrict Executive’s ability to (i) serve on the boards of civic or charitable organizations, or (ii) serve on up
to one (1) other board with the consent of the Board or a duly authorized committee thereof, which consent
will not be unreasonably withheld (subject in any event to compliance with the Company’s Corporate
Governance Guidelines); provided, that the foregoing activities are not competitive with the business of the
Company and do not interfere or conflict with Executive’s duties and obligations on behalf of the Company
or create a potential business or fiduciary conflict of interest. Executive agrees to use her best efforts to
perform her duties and responsibilities within, and agrees to abide by, the Company’s written general
employment policies and practices and such other reasonable policies, practices and restrictions as the
Company shall from time to time establish and maintain for its executives, including, without limitation, the
Company’s Corporate Governance Guidelines and Policy of Ethical Standards for Business Conduct.

         (e)    For the avoidance of doubt, and notwithstanding anything herein to the contrary, prior to
the date on which the Company makes a public announcement regarding Executive’s appointment as Chief
Merchandising Officer , Executive agrees and acknowledges that she shall treat the existence and terms of
this Agreement as confidential and shall not disclose or discuss this Agreement with anyone, other than
with her spouse, her legal and/or financial advisors for purposes of seeking professional advice therefrom.

         2.      Term. The “Term” shall be the period commencing on the Effective Date and ending at
the close of business on the day before the third (3rd) anniversary of the Effective Date, unless Executive’s
employment with the Company terminates earlier pursuant to Section 5. The Term shall be extended
automatically by successive one (1) year periods unless either party provides the other party with written
notice of an intention not to renew the Term at least thirty (30) days prior to such renewal date. The “Term”
shall include any such automatic one (1) year extensions. The Term may be further modified only by a
written agreement between the parties and in such case, the term “Term” shall be deemed to mean the Term
as so modified. Notwithstanding anything to the contrary in this Agreement, Executive’s employment with
the Company shall be “at will.”

        3.       Compensation and Reimbursement of Expenses.

         (a)     Base Salary. During the Term, Executive’s annual base salary (the “Base Salary”) shall be
$550,000, payable in accordance with the Company’s regular payroll practices in effect from time to time
and subject to all applicable taxes and withholdings, but no less frequently than in semi-monthly
installments. The Base Salary may be adjusted by the People, Culture and Compensation Committee of the
Board (the “Compensation Committee”) in its sole discretion. The parties acknowledge and agree that a
portion of Executive’s Base Salary shall constitute consideration for Executive’s compliance with the
restrictions and covenants set forth in Section 6 of this Agreement.

         (b)      Annual Bonus. Beginning with respect to fiscal year 2022 and for each completed fiscal
year thereafter during the Term, Executive shall be eligible to receive, with respect to periods from and
after the Effective Date, an annual cash performance bonus (the “Annual Bonus”), with a target Annual
Bonus opportunity equal to seventy percent (70%) of her Base Salary; provided, that the Annual Bonus
with respect to fiscal year 2022 shall be prorated for the portion of fiscal year 2022 during which Executive
was employed by the Company as the Chief Merchandising Officer (it being understood that Executive will
also be eligible to receive an annual cash bonus payment with respect to the applicable bonus plan, and
terms and conditions related thereto, in which she participated in fiscal year 2022 prior to the Effective
Date, prorated for the portion of fiscal year 2022 prior to the Effective Date during which she served as


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Senior Vice President, General Manager, Harmon, for the Company). The Annual Bonus earned, if any,
with respect to a fiscal year will be subject to the performance of Executive and the Company during such
year, relative to performance goals established for such fiscal year by the Compensation Committee, and
may, for the avoidance of doubt, be less than the target Annual Bonus opportunity with respect to such year.
The Compensation Committee shall determine the level of attainment of performance goals and the amount
of the Annual Bonus following the end of each fiscal year, and the Company shall pay the Annual Bonus,
to the extent payable in accordance with this Section 3(b), on or before the date that is two and one-half
(2½) months following the end of the fiscal year with respect to which it is earned, provided that Executive’s
employment with the Company has not terminated on or prior to such date (except as expressly provided
in Section 5(c) below).

         (c)      Long-Term Equity Incentive Awards. In fiscal year 2023 and subject to all necessary
approvals by the Compensation Committee, the Company shall grant Executive a long-term equity
incentive award(s) under the Company’s 2012 Incentive Compensation Plan, as amended from time to time
or any successor plan (the “2012 Plan”) or the Company’s 2018 Incentive Compensation Plan, as amended
from time to time or any successor plan (the “2018 Plan”), as determined by the Compensation Committee
in its sole discretion (the “2023 Equity Award”). The 2023 Equity Award will have a target value at grant
no less than 175% of base salary or $962,500, as determined by the Compensation Committee in its sole
discretion. The target award value of equity-based awards hereunder in respect of fiscal years after 2023
will be reviewed annually for adjustment by the Compensation Committee in its sole discretion. The form,
vesting criteria and forfeiture provisions, and other terms and conditions with respect to the 2023 Equity
Award and any other future long-term equity incentive awards to be granted to Executive will be determined
by the Compensation Committee in its sole discretion, and such awards will be subject to the terms and
conditions of the 2012 Plan or 2018 Plan (or other plan as may be adopted from time to time) under which
such awards are granted, as applicable, and any applicable award agreements thereunder. The determination
of the number of shares subject to the 2023 Equity Award based on the value set forth above and any other
long-term equity incentive awards granted hereunder, and the timing for such grants, will be made in
accordance with the Compensation Committee Procedures for Equity Grants as in effect from time to time.

        (d)     One-Time Long-Term Equity Incentive Award. As soon as reasonably practicable after
the Effective Date and subject to all necessary approvals by the Compensation Committee, the Company
shall grant to you a one-time award comprised 60% of performance stock units (the “One-Time PSU
Award”) and 40% of time-vesting restricted stock units (the “One-Time RSU Award”), subject to and in
accordance with the terms of the 2012 Plan or the 2018 Plan, as determined by the Compensation
Committee in its sole discretion and the applicable award agreements thereunder. The total value of the
One-Time RSU Award and One-Time PSU Award at the date of grant will be $430,000, as determined by
the Compensation Committee in its sole discretion. The One-Time RSU Award will vest in substantially
equal installments on each of the first, second and third anniversaries of the grant date, subject to your
continued employment with the Company from the Effective Date through the applicable vesting date, and
the One-Time PSU Award will vest following completion of the applicable three-year performance period
and based on achievement of the applicable performance goals, in each case, and subject to the terms of the
2012 Plan or the 2018 Plan, as applicable, and the applicable award agreements. The Company expects that
the One-Time RSU Award and the One-Time PSU Award will be substantially consistent with the terms
and conditions of such awards made to similarly situated executives in 2022.

         (e)      Signing Bonus. On the Company’s first payroll payment date following thirty (30) days
after the Effective Date, the Company shall pay to Executive a lump-sum cash payment of $220,000, subject
to all applicable taxes and withholdings as a one-time cash bonus (the “Sign-On Bonus”). Notwithstanding
anything herein to the contract, in the event that Executive resigns her employment without Good Reason
or if Executive is terminated involuntarily by the Company for Cause, in each case prior to the first (1st)
anniversary of the Effective Date, Executive shall repay the Sign-On-Bonus to the Company, net of taxes.


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In such case, Executive (i) expressly agrees and authorizes the Company to deduct such net amount from
Executive’s final paycheck and any other amounts that the Company might otherwise pay Executive upon
termination and (ii) agrees to cooperate with the Company to facilitate the Company’s recoupment of taxes
withheld and remitted to the applicable taxing authorities with respect to the Sign-On Bonus.

         (f)   Reimbursement of Business Expenses. Executive is authorized to incur reasonable
expenses in carrying out her duties hereunder and shall, upon receipt by the Company of proper
documentation with respect thereto (setting forth the amount, business purpose and establishing payment)
be reimbursed for all such reasonable business expenses incurred during the Term, subject to the
Company’s written expense reimbursement policies and any written pre-approval policies in effect from
time to time.

        (g)      Reimbursement of Legal Expenses. The Company shall pay or reimburse Executive for
her reasonable out-of-pocket legal expenses incurred in connection with the negotiation and execution of
this Agreement, up to a maximum of $10,000.00. Executive shall provide the Company with such receipts
or invoices as the Company deems reasonably necessary to verify the amount of such expenses.

        4.       Employee Benefits.

         (a)     Company Employee Benefit Plans. During the Term, Executive shall be provided the
opportunity to participate in all standard employee benefit programs made available by the Company to the
Company’s senior executive employees generally, in accordance with the terms and conditions of such
plans, including the eligibility and participation provisions of such plans and programs, as such plans or
programs may be in effect from time to time. The Company reserves the right to amend any employee
benefit plan, policy, program or arrangement from time to time, or to terminate such plan, policy, program
or arrangement, consistent with the terms thereof at any time and for any reason without providing
Executive with notice.

        (b)      Financial Planning Benefit. During the Term, and without duplication of benefits payable
in respect of periods prior to the Effective Date, upon presentation of appropriate documentation, the
Company will reimburse Executive for up to $10,000.00 annually for assistance with tax preparation and
financial planning.


        (c)     Automobile Allowance. During the Term, and without duplication of benefits payable in
respect of periods prior to the Effective Date, the Company will provide Executive with an automobile
allowance of $1,000.00 per month on an after-tax basis, which may be applied toward the cost of leasing
or purchasing an automobile, or toward the cost of a car service or other similar transportation service.


         (d)      Vacation and Other Leave. During the Term, and without duplication of benefits payable
in respect of periods prior to the Effective Date, Executive shall be entitled to take time off consistent with
our Flexible Time Off Policy, or similar policy that may be in effect from time to time. Executive shall
also be eligible for all other holiday and leave pay generally available to other executives of the Company.

        5.       Termination of Employment.

         (a)    Termination by the Company; Termination Due to Death. Executive’s employment
with the Company, and the Term, may be terminated by the Company immediately upon notice to Executive
for an involuntary termination of employment for Cause (as defined in Section 5(f)(ii)), without Cause or



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due to Executive’s Disability (as defined in Section 5(f)(iii)). Executive’s employment with the Company,
and the Term, shall automatically terminate upon Executive’s death.

         (b)    Termination by Executive. Executive’s employment with the Company, and the Term,
may be terminated by Executive for any reason with no less than thirty (30) calendar days’ advance written
notice to the Company.

        (c)     Benefits Upon Termination. If Executive’s employment with the Company is terminated
during the Term for any reason by the Company or by Executive, the Company shall have no further
obligation to make or provide to Executive, and Executive shall have no further right to receive or obtain
from the Company, any payments or benefits except as follows:

                (i)      Any Termination. The Company shall pay Executive (or, in the event of her death,
        Executive’s estate) any Accrued Obligations (as defined in Section 5(f)(i)) within the thirty (30)
        day period (or such earlier or later period as required by law or the applicable governing documents)
        following the date Executive’s employment terminates (the “Separation Date”), and Executive shall
        receive any vested accrued benefits for which Executive remains eligible under the Company’s
        employee welfare benefit and defined contribution retirement plans, payable according to the terms
        of such plans.

                (ii)    Non-Renewal by the Company; Without Cause; For Good Reason. If Executive’s
        employment with the Company ends as a result of a non-renewal of the Term by the Company (and
        conditions for a Cause termination do not otherwise exist), an involuntary termination by the
        Company without Cause or due to Executive’s resignation for Good Reason, then, in addition to
        the amounts payable under Section 5(c)(i), subject to Executive’s execution, delivery, and non-
        revocation of the general release described in Section 5(e) (the “General Release”) on the timing
        and terms contemplated in Section 5(e) and the other conditions and limitations herein, the
        Company shall pay or provide Executive with the following benefits:

                         (A)     Cash severance equal to, in the aggregate, one (1) times the sum of (x)
                Executive’s Base Salary (at the rate in effect immediately prior to the Separation Date),
                and (y) Executive’s target Annual Bonus (at the rate in effect with respect to the fiscal year
                in which the Separation Date occurs), subject to all applicable taxes and withholdings
                (collectively, the “Severance Payment”), payable in substantially equal installments over
                the twelve (12) months following the Separation Date in accordance with the Company’s
                regular payroll payment schedule; provided, that no installment or portion of the Severance
                Payment shall be payable or paid prior to the expiration of the applicable revocation period
                for the General Release; and provided further, that if the Severance Payment is subject to
                Section 409A (as defined in Section 5(f)(v)) and the timing of Executive’s execution and
                delivery of the General Release could affect the calendar year in which any amount of the
                Severance Payment is paid because the Separation Date occurred toward the end of a
                calendar year, then no portion of the Severance Payment shall be paid until the Company’s
                first payroll payment date in the year following the year in which the Separation Date
                occurs, and any amount that is not paid prior to such date due to such restriction shall be
                paid (subject to the applicable conditions) along with the installment scheduled to be paid
                on that date; and

                         (B)      Any earned but unpaid Annual Bonus for a fiscal year ending prior to the
                fiscal year in which the Separation Date occurs, which will be paid when otherwise payable
                under Section 3(b) even though Executive’s employment had terminated on or prior to that
                date, or, if later, and to the extent consistent with Section 409A, as soon as reasonably


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               practicable following the expiration of the applicable revocation period for the General
               Release.

                       (C)    As of the Separation Date, full and immediate acceleration of the vesting
               of the One-Time RSU Award.

                        (D)     If Executive elects continued health coverage pursuant to the Consolidated
               Omnibus Budget Reconciliation Act (“COBRA”), Executive will only be responsible for
               paying a portion of the COBRA premium that is equal to Executive’s contribution rate in
               effect immediately prior to the Separation Date for Executive’s applicable Medical, Dental,
               and Vision coverage under the Company’s group health plan for herself, her spouse, and
               her dependents for the first fifty-two (52) weeks of COBRA. If Executive elects COBRA
               and does not pay the applicable portion of the COBRA premium within the time frame
               stipulated under COBRA, Executive’s coverage will be cancelled beginning after the
               period covered by the last COBRA premium paid, subject to the terms of the governing
               documents for the applicable group health plan, and all costs incurred will be the
               responsibility of Executive. Following the aforementioned fifty-two (52)-week period, any
               continued health coverage pursuant to COBRA shall solely be at Executive’s cost.

                (iii) Change In Control. Executive shall be entitled to participate in the Bed Bath &
       Beyond Inc. Executive Change in Control Severance Plan, to the extent such Plan is in effect and
       as the same may be modified from time to time.

        (d)     Cooperation Upon Termination. Upon Executive’s termination of employment for any
reason, Executive shall cooperate as reasonably requested by the Board to effect an orderly transition.

       (e)     Release; No Other Severance Benefits.

                (i)     This Section 5(e) shall apply notwithstanding anything else in this Agreement to
       the contrary. As a condition precedent to any Company obligation pursuant to Section 5(c)(ii)
       (collectively, the “Severance Benefits”), Executive shall provide the Company with a valid,
       executed General Release in substantially the form attached hereto as Exhibit A (as reasonably
       revised by the Company to comply with applicable law changes or interpretations or as otherwise
       necessary to ensure or bolster enforceability or tax effectiveness), and not revoke such General
       Release prior to the expiration of any revocation rights afforded under applicable law. The
       Company shall provide Executive with the General Release prior to the Separation Date, and
       Executive must deliver the executed General Release to the Company within twenty-one (21)
       calendar days (or, if greater, the minimum period required by applicable law) after the Separation
       Date, failing which Executive will forfeit all rights to the Severance Benefits.

                (ii)    Executive agrees that the Severance Benefits shall be in lieu of any other severance
       benefit or other right or remedy to which Executive would otherwise be entitled under the
       Company’s plans, policies or programs in effect on the Effective Date or thereafter except to the
       extent expressly agreed in writing by the Company and Executive; provided that, for the avoidance
       of doubt, upon a termination of Executive’s employment, any equity awards held by her will,
       subject to the accelerated vesting provision provided above, be treated in accordance with the terms
       of the 2012 Plan or 2018 Plan, or any successor plan, as applicable, and the award agreements
       governing such awards. Executive acknowledges and agrees that in the event Executive breaches
       any provision of Section 6 or the General Release, her right to receive the Severance Benefits shall
       automatically terminate and Executive shall repay, return and restore any and all Severance Benefits
       received.


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     (f)     Certain Defined Terms. As used in this Agreement:

             (i)     “Accrued Obligations” means (A) any Base Salary that had accrued but had not
     been paid (including any amount for accrued and unused vacation time payable in accordance with
     Section 4(d) or applicable law) on or before the Separation Date, (B) any reimbursement due to
     Executive pursuant to Sections 3 or 4 for expenses incurred by Executive on or before the
     Separation Date and (C) any other vested benefits or vested amounts due and owed to Executive
     under the terms of any plan, program or arrangement of the Company.

              (ii)     “Cause” means (A) Executive’s indictment for or plea of nolo contendere to a
     felony or commission of an act involving moral turpitude; (B) Executive’s commission of fraud,
     theft, embezzlement, self-dealing, misappropriation or other malfeasance against the business of
     the Company, its subsidiaries or affiliates (individually, a “Company Group Member” and
     collectively, the “Company Group”); (C) Executive’s indictment for or plea of nolo contendere to
     any serious offense that results in or would reasonably be expected to result in material financial
     harm, materially negative publicity or other material harm to any Company Group Member; (D)
     Executive’s failure to perform any material aspect of her lawful duties or responsibilities for the
     Company or the Company Group (other than by reason of Disability), and if curable, fails to cure,
     in all material aspects, within thirty (30) calendar days after receiving written notice from the
     Company identifying such failure; (E) Executive’s failure to comply with any lawful written policy
     of the Company (including, without limitation, the Company’s Corporate Governance Guidelines
     or Policy of Ethical Standards for Business Conduct) or reasonable directive of the CEO or the
     Board, and in either case, if curable, fails to cure, in all material aspects, within thirty (30) calendar
     days after receiving written notice from the Company identifying such failure; (F) Executive’s
     commission of acts or omissions constituting gross negligence or gross misconduct in the
     performance of any aspect of her lawful duties or responsibilities; (G) Executive’s breach of any
     fiduciary duty owed to the Company Group; (H) Executive’s violation or breach of any Restrictive
     Covenant (as defined in Section 7(a)) or any material term of the Agreement (including, without
     limitation, Section 7(b) hereof), and, if curable, fails to cure such violation or breach within thirty
     (30) calendar days after receiving written notice from the Company identifying such violation or
     breach; or (I) Executive’s commission of any act or omission that damages or is reasonably likely
     to damage the financial condition or business of the Company or materially damages or is
     reasonably likely to materially damage the reputation, public image, goodwill, assets or prospects
     of the Company. In addition, Executive’s employment shall be deemed to have terminated for
     “Cause” if, on the date Executive’s employment terminates, facts and circumstances exist that
     would have justified a termination for Cause, even if such facts and circumstances are discovered
     following such termination.

             (iii)    “Disability” means a physical or mental impairment that renders Executive unable
     to perform the essential functions of her employment with the Company, even with reasonable
     accommodation that does not impose an undue hardship on the Company, for more than ninety (90)
     calendar days, whether consecutive or not consecutive, in any consecutive twelve (12) month
     period, unless a longer period is required by federal or state law, in which case that longer period
     would apply.

              (iv)     “Good Reason” means, subject to Section 11(b), without Executive’s written
     consent, (A) a material reduction in the Base Salary, other than a reduction of less than ten percent
     (10%) in connection with a comparable decrease applicable to all senior executives of the Company;
     (B) a requirement by the Company that Executive relocate her primary place of employment more
     than thirty-five (35) miles from its location as of the Effective Date; or (C) a material diminution


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        in Executive’s duties, authority or responsibilities of employment; provided, in each case, that
        Executive has given the Company written notice detailing the specific circumstances alleged to
        constitute Good Reason within sixty (60) calendar days after the first occurrence of such
        circumstances, and the Company shall have thirty (30) calendar days following receipt of such
        notice to cure such circumstances in all material respects; provided further, that no termination due
        to Good Reason shall occur after the one-hundred twentieth (120th) calendar day following the first
        occurrence of any grounds for Good Reason.

              (v)      “Section 409A” means Section 409A of the Internal Revenue Code of 1986, as
        amended (the “Code”) and the regulations, rules and other guidance promulgated thereunder.

         (g)      Officer/Board/Committee Resignations.              Upon the termination of Executive’s
employment for any reason, Executive will be deemed to have resigned, without any further action by
Executive, from any and all positions (including, but not limited to, any officer and/or director positions or
positions as a fiduciary of any of the Company Group’s employee benefit plans) that Executive,
immediately prior to such termination, (i) held within the Company Group and (ii) held with any other
entities at the direction of, or as a result of Executive’s affiliation with, the Company Group. If, for any
reason, this Section 5(g) is deemed to be insufficient to effectuate such resignations, then Executive will,
upon the Company’s request, execute any documents or instruments that the Company may deem necessary
or desirable to effectuate such resignations.

        (h)     Section 409A.

                 (i)      It is intended that any amounts payable under this Agreement shall be exempt from
        and avoid the imputation of any tax, penalty or interest under Section 409A to the fullest extent
        permissible under applicable law; provided that if any such amount is or becomes subject to the
        requirements of Section 409A, it is intended that those amounts shall comply with such
        requirements. This Agreement shall be construed and interpreted consistent with that intent. In
        furtherance of that intent, if payment or provision of any amount or benefit hereunder that is subject
        to Section 409A at the time specified herein would subject such amount or benefit to any additional
        tax under Section 409A, the payment or provision of such amount or benefit shall be postponed to
        the earliest commencement date on which the payment or provision of such amount or benefit could
        be made without incurring such additional tax. In no event, however, shall the Company be liable
        for any tax, interest or penalty imposed on Executive under Section 409A or any damages for failing
        to comply with Section 409A.

                 (ii)     A termination of employment shall not be deemed to have occurred for purposes
        of any provision of this Agreement providing for the payment of any amounts or benefits upon or
        following a termination of employment that are considered “nonqualified deferred compensation”
        under Section 409A unless such termination is also a “separation from service” within the meaning
        of Section 409A and, for purposes of any such provision of this Agreement, references to a
        “termination,” “termination of employment” or like terms shall mean “separation from service.” If
        Executive is a “specified employee” within the meaning of Treasury Regulation Section 1.409A-
        1(i) as of the Separation Date, Executive shall not be entitled to any payment or benefit pursuant to
        this Agreement that constitutes nonqualified deferred compensation for purposes of Section 409A
        and that is payable upon a separation from service (within the meaning of Section 409A) until the
        earlier of (A) the date which is six (6) months after her separation from service for any reason other
        than death, or (B) the date of Executive’s death; provided that this paragraph shall only apply if,
        and to the extent, required to avoid the imputation of any tax, penalty or interest pursuant to Section
        409A. Any amounts otherwise payable to Executive upon or in the six (6) month period following
        Executive’s separation from service that are not so paid by reason of this Section 5(h)(ii) shall be


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        paid (without interest) as soon as practicable (and in any event within thirty (30) calendar days)
        after the date that is six (6) months after Executive’s separation from service (provided that in the
        event of Executive’s death after such separation from service but prior to payment, then such
        payment shall be made as soon as practicable, and in all events within thirty (30) calendar days,
        after the date of Executive’s death).

                 (iii)   Any reimbursement payment or in-kind benefit due to Executive pursuant to
        Sections 3 or 4, to the extent that such reimbursements or in-kind benefits are taxable to her, shall
        be paid on or before the last day of Executive’s taxable year following the taxable year in which
        the related expense was incurred. Executive agrees to provide prompt notice to the Company of
        any such expenses (and any other documentation that the Company may reasonably require to
        substantiate such expenses) in order to facilitate the Company’s timely reimbursement of the same.
        Reimbursements and in-kind benefits pursuant to Sections 3 or 4 are not subject to liquidation or
        exchange for another benefit and the amount of such benefits that Executive receives in one taxable
        year shall not affect the amount of such reimbursements or benefits that Executive receives in any
        other taxable year.

                (iv)     For purposes of Section 409A, Executive’s right to receive any installment
        payments hereunder shall be treated as a right to receive a series of separate and distinct payments.
        Whenever a payment under this Agreement specifies a payment period with reference to a number
        of days (e.g., payment shall be made within thirty (30) calendar days following the Separation
        Date), the actual date of payment within the specified period shall be within the sole discretion of
        the Company.

         (i)     Section 280G. Notwithstanding anything to the contrary in this Agreement, in the event
that any compensation, payment or distribution by the Company and all affiliates to or for the benefit of
Executive, whether paid or payable or distributed or distributable pursuant to the terms of this Agreement
or otherwise, including but not limited to the acceleration of the exercisability and/or vesting of any equity
awards (the “Severance Amounts”), would, but for this Section 5(i), constitute an “excess parachute
payment” as defined in Section 280G of the Code, the following provisions shall apply: (A) if the Severance
Amounts, reduced by the sum of (I) the Excise Tax (as defined below) and (II) the total of the federal, state,
and local income and employment taxes payable by Executive on the amount of the Severance Amounts
which are in excess of the Threshold Amount (as defined below), are greater than or equal to the Threshold
Amount, Executive shall be entitled to the full benefits payable under this Agreement, and (ii) if the
Threshold Amount is less than (A) the Severance Amounts, but greater than (B) the Severance Amounts
reduced by the sum of (1) the Excise Tax and (2) the total of the federal, state, and local income and
employment taxes on the amount of the Severance Amounts which are in excess of the Threshold Amount,
then the benefits payable under this Agreement shall be reduced (but not below zero) to the extent necessary
so that the maximum Severance Amounts shall not exceed the Threshold Amount. For the purposes of this
Section 5(i), “Threshold Amount” shall mean three (3) times Executive’s “base amount” within the meaning
of Section 280G(b)(3) of the Code and the regulations promulgated thereunder less one dollar ($1.00), and
“Excise Tax” shall mean the excise tax imposed by Section 4999 of the Code, and any interest or penalties
incurred by Executive with respect to such excise tax. The determination as to which of the alternative
provisions of this Section 5(i) shall apply to Executive shall be made by a nationally recognized accounting
firm selected by the Company or one of its affiliates (the “Accounting Firm”). For purposes of determining
which of the alternative provisions of this Section 5(i) shall apply, Executive shall be deemed to pay federal
income taxes at the highest marginal rate of federal income taxation applicable to individuals for the
calendar year in which the determination is to be made, and state and local income taxes at the highest
marginal rates of individual taxation in the state and locality of Executive’s residence on the Separation
Date, net of the maximum reduction in federal income taxes which could be obtained from deduction of
such state and local taxes. Any determination by the Accounting Firm shall be binding upon the Company


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and Executive, absent fraud or manifest error. In addition, notwithstanding anything herein to the contrary,
in the event any payments are to be reduced, the reduction shall take place in a manner that produces the
greatest economic advantage to Executive (and if reduction of two or more payments produce the same
economic advantage they shall be reduced proportionally) but taking into account, as applicable,
compliance with Section 409A. In no event shall the Company be liable or responsible for any Excise Tax
imposed on Executive; provided, however, that this Section 5(i) shall not be construed to limit the remedies
available to Executive in the event that Executive becomes subject to any Excise Tax, in a material amount,
as a result of any fraud or error by the Accounting Firm.

        6.      Restrictive Covenants.

        (a)     Non-Disclosure and Non-Use of Confidential Information.

                 (i)     Executive shall not use or disclose to any individual or natural person, partnership
        (including a limited liability partnership), corporation, limited liability company, association, joint
        stock company, trust, joint venture, unincorporated organization or governmental authority (each,
        a “Person”), either during her employment with the Company, the Term or thereafter, any
        Confidential Information (as defined below) of which Executive is or becomes aware, whether or
        not such information is developed by her, for any reason or purpose whatsoever, nor shall she make
        use of any of the Confidential Information for her own purposes or for the benefit of any Person
        except for the Company Group, except (A) to the extent that such disclosure or use is directly
        related to and required by Executive’s performance in good faith of duties assigned to Executive
        by the Company or (B) to the extent required to do so by a law or legal process, including a court
        of competent jurisdiction. Executive shall not modify, reverse engineer, decompile, create other
        works from or disassemble any software programs contained in the Confidential Information of the
        Company unless permitted in writing by the Company. Executive will, at the sole expense of the
        Company, take all reasonable steps to safeguard Confidential Information and to protect it against
        disclosure, misuse, espionage, loss and theft.

                  (ii)    For purposes of this Agreement, “Confidential Information” means information
        that is not generally known to the public and that is used, developed or obtained by any Company
        Group Member in connection with its business, including, but not limited to, information,
        observations and data obtained by Executive during the Term concerning (A) the business or affairs
        of the Company Group (or any predecessor thereof) and (B) products, services, fees, costs, pricing
        structures, analyses, drawings, photographs and reports, computer software (including operating
        systems, applications and program listings), data bases, accounting and business methods,
        inventions, devices, new developments, methods and processes (whether patentable or
        unpatentable and whether or not reduced to practice), customers and clients and customer and client
        lists, information on current and prospective independent sales agents, software vendors or partners
        and sponsor banks, all technology and trade secrets, and all similar and related information in
        whatever form. Notwithstanding the foregoing, “Confidential Information” will not include any
        information that has been published in a form generally available to the public prior to the date
        Executive proposes to disclose or use such information (except where such public disclosure was
        made by Executive without authorization).

                 (iii)   For the avoidance of doubt, this Section 6(a) does not prohibit or restrict Executive
        (or Executive’s attorney) from responding to any inquiry about this Agreement or its underlying
        facts and circumstances by the Securities and Exchange Commission, the Financial Industry
        Regulatory Authority, or any other self-regulatory organization or governmental entity, or making
        other disclosures that are protected under the whistleblower provisions of federal law or regulation.
        Executive understands and acknowledges that she does not need the prior authorization of the


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        Company to make any such reports or disclosures and that she is not required to notify the Company
        that she has made such reports or disclosures.

                 (iv)     Under the Defend Trade Secrets Act of 2016, Executive shall not be held
        criminally or civilly liable under any Federal or State trade secret law for the disclosure of a trade
        secret that is (A) made in confidence to a Federal, State, or local government official, either directly
        or indirectly, or to an attorney; and solely for the purpose of reporting or investigating a suspected
        violation of law; or (B) in a complaint or other document filed in a lawsuit or other proceeding, if
        such filing is made under seal. Further, an individual who files a lawsuit for retaliation by an
        employer for reporting a suspected violation of law may disclose the employer's trade secrets to the
        attorney and use the trade secret information in the court proceeding if the individual: (x) files any
        document containing the trade secret under seal; and (y) does not disclose the trade secret, except
        pursuant to court order. Notwithstanding anything herein to the contrary and for the avoidance of
        doubt, nothing herein shall preclude the Company from disclosing the existence and/or terms and
        conditions of this Agreement, including without limitation, to the extent required by applicable law
        (including, without limitation, under applicable securities laws) or by judicial or administrative
        process.

        (b)      Intellectual Property Rights.

                  (i)     Executive hereby assigns, transfers and conveys to the Company all of Executive’s
        right, title and interest in and to all Work Product (as defined below). Executive agrees that all
        Work Product belongs in all instances to the Company. Executive will promptly disclose such Work
        Product to the Company and perform all actions reasonably requested by the Company (whether
        during or after the Term) to establish and confirm the Company’s ownership of such Work Product
        (including, without limitation, the execution and delivery of assignments, consents, powers of
        attorney and other instruments) and to provide reasonable assistance to the Company (whether
        during or after the Term) in connection with the prosecution of any applications for patents,
        trademarks, trade names, service marks or reissues thereof or in the prosecution or defense of
        interferences relating to any Work Product. Executive recognizes and agrees that the Work Product,
        to the extent copyrightable, constitutes works for hire under the copyright laws of the United States.

                 (ii)     For purposes of this Agreement, “Work Product” means all inventions,
        innovations, improvements, technical information, systems, software developments, methods,
        designs, analyses, drawings, reports, service marks, trademarks, trade names, trade dress, logos and
        all similar or related information (whether patentable or unpatentable) which relates to the actual
        or anticipated business, operations, research and development of existing or future products or
        services of the Company Group and which are conceived, developed or made by Executive
        (whether or not during usual business hours and whether or not alone or in conjunction with any
        other Person) during the Term together with all patent applications, letters patent, trademark, trade
        name and service mark applications or registrations, copyrights and reissues thereof that may be
        granted for or upon any of the foregoing. Notwithstanding the foregoing, “Work Product” shall not
        include the patents and other assets set forth on Exhibit B hereto. Executive hereby represents and
        warrants that the patents and other assets owned by Executive set forth on Exhibit B are not related
        in any way to the Company Group, except as stated therein.

         (c)     Non-Competition. During the Term and for twelve (12) months following the termination
of Executive’s employment for any reason, whether or not Executive is entitled to severance (the
“Restricted Period”), Executive shall not, and shall cause her controlled affiliates not to, directly or
indirectly, through or in association with any third party, engage or be interested in any Competitive
Business in the United States as a shareholder, director, officer, employee, agent, broker, partner, individual


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proprietor, lender, consultant or in any other capacity (provided, that nothing herein contained will prevent
Executive from owning less than one percent (1%) of any class of equity or debt securities of any publicly
traded company). For purposes of this Agreement, “Competitive Business” means (i) any business or
enterprise that includes the operation of any retail store which utilizes (or intends to utilize) more than thirty
percent (30%) of the selling space of the store for the sale of any combination of: giftware; housewares;
linens and domestics; home furnishings; and/or health and beauty care products; and/or products for infants
and young children (including, without limitation, cribs and juvenile furniture, toys and games, infant’s and
young children’s clothing, strollers, car seats, carriers, bedding, bath and safety accessories, and feeding
and eating accessories); and/or (ii) any business or enterprise that includes the operation of any non-
traditional retail format (such as, but not limited to, any online, internet, catalog or television format) which
allocates (or intends to allocate) more than thirty percent (30%) of such format’s listing space or time slots
to the sale of any combination of: giftware; housewares; linens and domestics; home furnishings;
and/or health and beauty care products; and/or products for infants and young children (including, without
limitation, cribs and juvenile furniture, toys and games, infant’s and young children’s clothing, strollers,
car seats, carriers, bedding, bath and safety accessories, and feeding and eating accessories); and/or (iii) any
other material business or enterprise of the Company Group; provided, however, that to the extent that, at
the time of determination, health and beauty care products represent less than fifteen percent (15%) of the
gross revenues of the Company Group, “Competitive Business” shall not include a health and beauty care
product specialty retailer substantially all the gross revenues of which are generated by health and beauty
care products.

         (d)      Non-Solicitation and Non-Interference. During the Restricted Period, Executive shall
not, and shall cause her controlled affiliates not to, directly or indirectly, through or in association with any
third party, (i) call on, solicit or service, engage or contract with or take any action which may interfere
with, impair, subvert, disrupt or alter the relationship, contractual or otherwise, between any Company
Group Member and any current or prospective customer, supplier, distributor, developer, service provider,
licensor or licensee, or other material business relation of such Company Group Member, (ii) solicit, induce,
recruit or encourage any employees of or consultants to the Company Group to terminate their relationship
with the Company Group or take away or hire such employees or consultants, (iii) divert or take away the
business or patronage (with respect to products or services of the kind or type developed, produced,
marketed, furnished or sold by the Company Group) of any of the clients, customers or accounts, or
prospective clients, customers or accounts, of the Company Group or (iv) attempt to do any of the foregoing,
either for Executive’s own purposes or for any other third party.

         (e)     Non-Disparagement. Executive shall not, in any manner, directly or indirectly, make any
oral or written statement to any Person that disparages or places any Company Group Member or any of
their respective officers, shareholders, members or advisors, any member of the Board, or any agents or
others with whom the Company has business relationships, in a false or negative light; provided, however,
that Executive shall not be required to make any untruthful statement or to violate any law.

        7.       Acknowledgment and Enforcement of Covenants; Representations.

         (a)     Acknowledgment. Executive acknowledges that she has become familiar, or will become
familiar with the Company Group Members’ trade secrets and with other confidential and proprietary
information concerning the Company Group Members and their respective predecessors, successors,
customers and suppliers, and that her services are of special, unique and extraordinary value to the
Company. Executive acknowledges and agrees that the Company would not enter into this Agreement,
providing for compensation and other benefits to Executive on the terms and conditions set forth herein,
but for Executive’s agreements herein (including those set forth in Section 6). Furthermore, Executive
acknowledges and agrees that the Company will be providing Executive with additional special knowledge
after the Effective Date, with such special knowledge to include additional Confidential Information and


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trade secrets. Executive agrees that the covenants set forth in Section 6 (collectively, the “Restrictive
Covenants”) are reasonable and necessary to protect the Company Group’s trade secrets and other
Confidential Information, proprietary information, good will, stable workforce and customer relations.

        (b)     Representations.

                 (i)     Without limiting the generality of Executive’s agreement with the provisions of
        Section 7(a), Executive (A) represents that she is familiar with and has carefully considered the
        Restrictive Covenants; (B) represents that she is fully aware of her obligations hereunder; (C)
        agrees to the reasonableness of the length of time, scope and geographic coverage, as applicable,
        of the Restrictive Covenants; and (D) agrees that the Restrictive Covenants will continue in effect
        for the applicable periods set forth above regardless of whether Executive is then entitled to receive
        severance pay or benefits from the Company. Executive understands that the Restrictive Covenants
        may limit her ability to earn a livelihood in a business similar to the business of the Company
        Group, but she nevertheless believes that she has received and will receive sufficient consideration
        and other benefits as an employee of the Company and as otherwise provided hereunder or as
        described in the recitals hereto to clearly justify such restrictions which, in any event (given her
        education, skills and ability), Executive does not believe would prevent her from otherwise earning
        a living. Executive agrees that the Restrictive Covenants do not confer a benefit upon the Company
        disproportionate to the detriment of Executive.

                 (ii)     Executive hereby represents and warrants to the Company that: (A) the information
        that Executive provided to the Company regarding her background is truthful and accurate; (B) the
        execution and delivery of this Agreement and the performance by Executive of her duties hereunder
        do not and shall not constitute a breach of, conflict with, or otherwise contravene or cause a default
        under, the terms of any other agreement or policy to which Executive is a party or otherwise bound
        or any judgment, order or decree to which Executive is subject; (C) Executive has no information
        (including, without limitation, confidential information and trade secrets) relating to any other
        person or entity that would prevent Executive under the terms of any other agreement or
        arrangement from entering into this Agreement or carrying out her duties hereunder, or would give
        rise to a violation of such other agreement or arrangement; (D) Executive is not bound by any
        employment, consulting, non-competition, confidentiality, trade secret or similar agreement (other
        than this Agreement) with any other person or entity that would prevent Executive under the terms
        of any other agreement or arrangement from entering into this Agreement or carrying out her duties
        hereunder, or would give rise to a violation of such other agreement or arrangement; (E) Executive
        is not currently and has never been the subject of any allegation or complaint of harassment,
        discrimination, retaliation, or sexual or other misconduct in connection with any prior employment
        or otherwise, and has never been a party to any settlement agreement or nondisclosure agreement
        relating to such matters; and (F) Executive understands the Company will rely upon the accuracy
        and truth of the representations and warranties of Executive set forth herein and Executive consents
        to such reliance.

         (c)     Enforcement. Executive agrees that a breach by Executive of any of the Restrictive
Covenants may cause immediate and irreparable harm to the Company or another Company Group Member
that would be difficult or impossible to measure, and that damages to the Company or the Company Group
Member for any such injury may therefore be an inadequate remedy for any such breach. Therefore,
Executive agrees that in the event of any breach or threatened breach of any provision of the Restrictive
Covenants, the Company shall be entitled, in addition to and without limitation upon all other remedies the
Company may have under this Agreement at law or otherwise, to seek to obtain from any court of competent
jurisdiction specific performance, injunctive relief and/or other appropriate relief (without posting any bond
or deposit) in order to enforce or prevent any violations of the Restrictive Covenants, or require Executive


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to account for and pay over to the Company all compensation, profits, moneys, accruals, increments or
other benefits derived from or received as a result of any transactions constituting a breach of the Restrictive
Covenants if and when final judgment of a court of competent jurisdiction is so entered against Executive.

         (d)      Severability. If, at the time of enforcement of the Restrictive Covenants, a court or
arbitrator holds that the Restrictive Covenants are unreasonable under the circumstances then existing, the
parties agree that the maximum period, scope or geographical area reasonable under such circumstances
shall be substituted for the stated period, scope or area determined to be reasonable under the circumstances
by such court or arbitrator, as applicable. Executive covenants and agrees that Executive shall not assert as
a defense to any action seeking enforcement of the Restrictive Covenants (including an action seeking
injunctive relief) that such provisions are not enforceable due to lack of sufficient consideration received
by Executive.

         (e)    Tolling. In the event of any violation of the provisions of Section 6, Executive
acknowledges and agrees that the post-termination restrictions contained in Section 6 shall be extended by
a period of time equal to the period of such violation, it being the intention of the parties hereto that the
running of the applicable post-termination restriction period shall be tolled during any period of such
violation.

         (f)     Survival of Provisions. The obligations contained in Sections 6, 7, 9, 10 and 11 hereof
shall survive any termination of Executive’s employment with the Company and shall be fully enforceable
thereafter.

        8.      Withholding Taxes/Authorized Deductions. Notwithstanding anything herein to the
contrary, the Company may withhold (or cause to be withheld) from any amounts otherwise due or payable
under or pursuant to this Agreement such federal, state and local income, social security, employment or
other taxes as may be required to be withheld pursuant to any applicable law or regulation, and make such
deductions as may be applicable pursuant to the Company’s policies and employee benefit plans.

        9.       Cooperation. During and after the Term, Executive shall cooperate fully with any
investigation or inquiry by the Company, or any governmental or regulatory agency or body concerning the
Company or any other member of the Company Group; provided, that the Company shall reimburse
Executive’s reasonable expenses incurred in providing such cooperation subject to Executive’s delivery of
written notice to the Company prior to the time such expenses are incurred.

        10.      Clawback. To the extent required by applicable law or regulation, any applicable stock
exchange listing standards or any clawback policy adopted by the Company pursuant to any such law,
regulation or stock exchange listing standards, or to comport with good corporate governance practices, the
Annual Bonus and any other incentive compensation granted to Executive (whether pursuant to this
Agreement or otherwise) shall be subject to the provisions of any applicable clawback policies or
procedures, which may provide for forfeiture and/or recoupment of such amounts paid or payable under
this Agreement or otherwise, including the incentive equity awards granted or to be granted to Executive
under Section 3(c) and/or 3(d) of this Agreement or any other incentive equity awards granted to Executive.

        11.      Miscellaneous.

         (a)    Insurance. The Company may, at its option and for its benefit, obtain insurance with
respect to Executive’s death, disability or injury. Executive agrees to submit to such physical examinations
and supply such information as may be reasonably required in order to permit the Company to obtain such
insurance.



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         (b)      Governing Law. This Agreement shall be construed and enforced in accordance with the
internal laws of the State of New York, without regard to principles of conflicts of laws. Notwithstanding
anything herein or otherwise to the contrary, Executive agrees and acknowledges that all compensation and
benefits provided to Executive by the Company, whether under this Agreement or otherwise, shall be
subject to all applicable requirements under law or regulation, including without limitation, the Coronavirus
Aid, Relief, and Economic Security Act, and any actions taken by the Company to comply with any such
laws or regulations shall not be a breach of this Agreement or constitute Good Reason under this Agreement
or any other agreements between the Company and Executive.

         (c)     Consent to Jurisdiction. All actions or proceedings arising out of or relating to this
Agreement shall be tried and litigated only in the New York State or Federal courts located in the County
of New York, State of New York. The parties hereto hereby irrevocably submit to the exclusive jurisdiction
of such courts for the purpose of any such action or proceeding. Notwithstanding the foregoing, either party
may seek injunctive or equitable relief to enforce the terms of this Agreement in any court of competent
jurisdiction.

        (d)     Intentionally Omitted.

         (e)     Severability. It is the desire and intent of the parties hereto that the provisions of this
Agreement be enforced to the fullest extent permissible under the laws and public policies applied in each
jurisdiction in which enforcement is sought. Accordingly, if any particular provision of this Agreement
shall be adjudicated by a court of competent jurisdiction to be invalid, prohibited or unenforceable under
applicable law, such provision, as to such jurisdiction, shall be ineffective without invalidating the
remaining provisions of this Agreement or affecting the validity or enforceability of such provision in any
other jurisdiction.

        (f)     Entire Agreement; Amendment. This Agreement embodies the entire agreement of the
parties hereto respecting the matters within its scope and, except as expressly contemplated herein,
supersedes all prior agreements (including, without limitation, any offer letters, term sheets and
correspondence relating thereto), whether written or oral, that directly or indirectly bear upon the subject
matter hereof. This Agreement may not be amended, modified or changed (in whole or in part), except by
written agreement executed by both of the parties hereto.

        (g)      Offsets. To the extent not prohibited under applicable law, the Company, in its sole and
absolute discretion, has the right to set off (or cause to be set off) any amounts otherwise due to Executive
from the Company in satisfaction of any repayment obligation of Executive under this Agreement or
otherwise, provided that any such amounts are exempt from, or set off in a manner intended to comply with,
the requirements of Section 409A.

        (h)      Waiver. No waiver of any of any provision of this Agreement will constitute or be deemed
to constitute a waiver of any other provision of this Agreement, nor will any such waiver constitute a
continuing waiver unless otherwise expressly provided in a writing executed by the party against whom it
is sought to be enforced.

         (i)      Successors and Assigns. Neither party hereto may assign its rights or delegate its duties
hereunder, except that the Company may assign its rights hereunder to any person that (i) acquires
substantially all of the business and assets of the Company (whether by merger, consolidation, purchase of
assets or other acquisition transaction), and (ii) agrees in writing to assume the obligations of the Company
hereunder. This Agreement shall be binding on the successors and assigns of the Company. Nothing in this
Agreement shall create, or be deemed to create, any third party beneficiary rights in any Person, including,
without limitation, any employee of the Company, other than Executive.


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         (j)    Notices. Any notice or other communication required or permitted to be given hereunder
shall be deemed to have been duly given when personally delivered or when sent by registered mail, return
receipt requested, postage prepaid, as follows:

        If to the Company, at:

            Bed Bath & Beyond Inc. 650 Liberty Avenue
            Union, NJ 07083
            Attention: Chief Legal Officer and Corporate Secretary

        If to Executive, at:

            Executive’s home address on file with the Company

        Either party hereto may change its or her address for the purpose of this paragraph by written notice
        similarly given.

        (k)      Legal Counsel; Mutual Drafting. Each party recognizes that this is a legally binding
contract and acknowledges and agrees that they have had the opportunity to consult with legal counsel of
their choice. Each party has cooperated in the drafting, negotiation and preparation of this Agreement.
Hence, in any construction to be made of this Agreement, the same shall not be construed against either
party on the basis of that party being the drafter of such language. Executive agrees and acknowledges that
she has read and understands this Agreement, is entering into it freely and voluntarily, and has been advised
to seek counsel prior to entering into this Agreement and has had ample opportunity to do so.

        (l)      Counterparts. This Agreement may be executed in any number of counterparts, each of
which shall be deemed an original as against any party whose signature appears thereon, and all of which
together shall constitute one and the same instrument. Signatures delivered as a “pdf” attachment to an
email to the other party shall be sufficient for all purposes.

                                       [Signatures on Following Page]




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         IN WITNESS WHEREOF, the Company and Executive have executed this Agreement as of the
date first written above.

                                                    COMPANY

                                                    BED BATH & BEYOND INC.

                                                    By:

                                                    Name: Lynda Markoe
                                                    Title: Chief People and Culture Officer



                                                    EXECUTIVE



                                                    Mara Sirhal




                         [Signature Page to Employment Agreement]




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                                              EXHIBIT A

                      FORM OF AGREEMENT AND GENERAL RELEASE

       THIS AGREEMENT AND GENERAL RELEASE (the “Agreement and General Release”) is
made and entered into on               , 20 by and between Mara Sirhal (“Executive”) and Bed Bath &
Beyond Inc., a New York corporation (the “Company”).

        WHEREAS, Executive has been employed by the Company and the parties wish to resolve all
outstanding claims and disputes between them relating to such employment;

         NOW, THEREFORE, in consideration of the mutual promises, covenants and agreements set forth
in this Agreement and General Release, the sufficiency of which the parties acknowledge, it is agreed as
follows:

   1. In consideration for Executive’s promises, covenants and agreements in this Agreement and
      General Release, the Company agrees to provide the Severance Benefits set forth in Section 5(c)(ii)
      of that certain employment agreement between Executive and the Company, dated as of June 28,
      2022 (the “Employment Agreement”), in accordance with the terms and subject to the conditions
      of such Employment Agreement. Executive would not otherwise be entitled to such payments but
      for her promises, covenants and agreements in this Agreement and General Release.

   2. The parties agree that the payments described in Section 1 of this Agreement and General Release
      are in full, final and complete settlement of all Claims (as defined below) Executive, and
      Executive’s heirs, beneficiaries, personal representatives, executors, administrators, successors and
      assigns (collectively, the “Releasors”) may have against the Company, its past and present
      affiliates, parents, subsidiaries, divisions, joint ventures and/or partnerships, their predecessors,
      successors and assigns, and all of their past and present respective officers, directors, owners,
      shareholders, members, managers, supervisors, employees, agents, advisors, consultants, insurers,
      attorneys, representatives, and employee benefit or pension plans or funds (and the trustees,
      administrators, fiduciaries and insurers of such programs) as well as any predecessors, successors
      and/or assigns of each of the foregoing (collectively, the “Releasees”), arising out of or in any way
      connected with Executive’s employment with the Company or any of its affiliates or the
      termination of such employment. Executive understands and acknowledges that except for the
      Accrued Obligations (as defined in the Employment Agreement) and except as otherwise
      specifically provided under this Agreement and General Release, Executive is entitled to no
      payments or any other benefits from Company. Except for the Accrued Obligations and the benefits
      otherwise payable in accordance with Section 1 of this Agreement and General Release, Executive
      acknowledges that Executive has received all wages for work performed, overtime compensation,
      bonuses, commissions, vacation pay and all other benefits and compensation due to Executive by
      virtue of Executive’s employment with and termination of employment with the Company up
      through the effective date of this Agreement and General Release.

   3. Nothing in this Agreement and General Release shall be construed as an admission of liability by
      the Company or any other Releasee, and the Company specifically disclaims liability to or wrongful
      treatment of Executive on the part of itself and all other Releasees. Executive expressly
      acknowledges and agrees that Executive has not asserted and does not have, the basis for asserting
      any claim, the factual foundation of which involves sexual harassment or sexual abuse, against the
      Company, and as such no portion of the consideration paid to Executive as part of this Agreement
      and General Release is attributable to any such claims; thus, Executive acknowledges and agrees



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      that this Agreement and General Release does not constitute the settlement of a sexual harassment
      or sexual abuse claim.

  4. Executive hereby represents and warrants to Company that (a) Executive has not filed, caused or
     permitted to be filed any pending proceeding (nor has Executive lodged a complaint with any
     governmental or quasi-governmental authority) against Company, nor has Executive agreed to do
     any of the foregoing, (b) Executive has not assigned, transferred, sold, encumbered, pledged,
     hypothecated, mortgaged, distributed, or otherwise disposed of or conveyed to any third party any
     right or Claim against Company which has been released in this Agreement and General Release,
     and (c) Executive has not directly or indirectly encouraged or assisted any third party in filing,
     causing or assisting to be filed, any Claim against Company. In addition, Executive hereby
     represents and warrants to Company that Executive shall not encourage or solicit or voluntarily
     assist or participate in any way in the filing, reporting or prosecution by Executive or any third
     party of a proceeding or Claim against Company based upon or relating to any Claim released by
     Executive in this Agreement and General Release, unless expressly allowed by Section 7. If any
     court has or assumes jurisdiction of any action against the Company or any of its affiliates on behalf
     of Executive, Executive will request that court to withdraw from or dismiss the matter with
     prejudice.

  5. Executive represents that she has not filed any complaints or charges against the Company or any
     of its affiliates with the Equal Employment Opportunity Commission (“EEOC”), or with any other
     federal, state or local agency or court, and covenants that she will not seek to recover on any claim
     released in this Agreement and General Release. Executive further represents that she has reported
     to the Company in writing any and all work-related injuries that she has suffered or sustained during
     her employment with the Company or its affiliates.

  6. Executive, on her behalf and on behalf of each of the Releasors, hereby covenants not to sue, and
     fully and forever releases and discharges the Company and all other Releasees from any and all
     legally waivable Claims which Executive may have against any of the Releasees, arising on or prior
     to the date hereof, including those of which Executive is not aware and those not mentioned in this
     Agreement and General Release up to the effective date of this Agreement and General Release.
     “Claims” means any and all actions, controversies, demands, causes of action, suits, rights, and/or
     claims whatsoever for debts, sums of money, wages, salary, severance pay, vacation pay, sick pay,
     fees and costs, attorneys’ fees, losses, penalties, damages, including damages for pain and suffering
     and emotional harm, arising, directly or indirectly, out of Executive’s employment with the
     Company, the terms and conditions of such employment, the termination of such employment
     and/or any of the events relating directly or indirectly to or surrounding the termination of that
     employment, including, but not limited to, Claims arising directly, or indirectly, from any promise,
     agreement, offer letter, contract, understanding, common law, tort, the laws, statutes, and/or
     regulations of the State of New Jersey, or any other state, and the United States, including, but not
     limited to, federal, state and local wage and hour laws, federal, state and local whistleblower laws,
     federal, state and local fair employment laws, federal, state and local anti-discrimination laws,
     federal, state and local labor laws, Section 1981 of the Civil Rights Act of 1866, Title VII of the
     Civil Rights Act of 1964, the Civil Rights Act of 1991, the Equal Pay Act, the Americans with
     Disabilities Act, the Employment Retirement Income Security Act of 1974 (“ERISA”), the
     Vietnam Era Veterans Readjustment Assistance Act, the Fair Credit Reporting Act, the Fair Labor
     Standards Act, the Age Discrimination in Employment Act (“ADEA”), as amended by the Older
     Workers Benefit Protection Act, the Worker Adjustment and Retraining Notification Act of 1988,
     the Occupational Safety and Health Act, the Sarbanes-Oxley Act of 2002, the Family and Medical
     Leave Act, the Genetic Information Nondiscrimination Act of 2008, the New Jersey Law Against
     Discrimination, the New Jersey Family Leave Act, the New Jersey Civil Rights Act, the New Jersey


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          Wage Payment Law, the New Jersey Conscientious Employee Protection Act, the New Jersey
          Millville Dallas Airmotive Plant Loss Job Notification Act, the New Jersey Paid Sick Leave Act,
          the New Jersey Equal Pay Act, and the New Jersey Workers’ Compensation Anti-Retaliation Law,
          as each has been or may be amended from time to time, and Claims premised on any other legal
          theory, whether arising directly or indirectly from any act or omission, whether intentional or
          unintentional. Executive acknowledges that she is releasing claims based on age, race, color, sex,
          sexual orientation or preference, marital status, religion, national origin, citizenship, veteran status,
          disability and other legally protected categories. This provision is intended to constitute a general
          release of all of each Releasor’s presently existing covered claims against the Releasees, to the
          maximum extent permitted by law.

      7. Nothing in this Agreement and General Release shall be construed to: (a) waive any rights or claims
         of Executive that arise after Executive signs this Agreement and General Release; (b) waive any
         rights or claims of Executive to enforce the terms of this Agreement and General Release; (c) waive
         any claim for worker’s compensation or unemployment benefits; (d) waive any rights or claims for
         the provision of accrued benefits conferred to Executive or her beneficiaries under the terms of the
         Company’s medical, dental, life insurance or defined contribution retirement benefit plans; € waive
         or affect any claim that cannot be released by an agreement voluntarily entered into between private
         parties; (f) limit Executive’s ability to file a charge or complaint with the EEOC, the National Labor
         Relations Board, the Occupational Safety and Health Administration, the Securities and Exchange
         Commission or any other federal, state or local governmental agency or commission (“Government
         Agencies”); (g) limit Executive’s ability to communicate with any Government Agencies or
         otherwise participate in any investigation or proceeding that may be conducted by any Government
         Agency, including providing documents or other information, without notice to the Company; (h)
         release claims challenging the validity of this Agreement under the ADEA; (i) disclose any
         allegations relating to a claim under the New Jersey Law against Discrimination; (j) release the
         Releasees or any of them from any claim that by law cannot be waived or released; (k) release any
         existing rights that Executive may have to indemnification pursuant to the Company’s or an
         affiliate’s governing documents and/or any directors’ and officers’ insurance policy of the
         Company for acts committed during the course of Executive’s employment; or (l) waive any rights
         of Executive with respect to vested equity held by her in the Company. Executive expressly waives
         and agrees to waive any right to recover monetary damages for personal injuries in any charge,
         complaint or lawsuit filed by Executive or anyone else on behalf of Executive for any released
         claims. This Agreement and General Release does not limit Executive’s right to receive an award
         for information provided to any Government Agencies.

      8. Executive acknowledges that (a) she has been given at least twenty-one (21)1 calendar days to
         consider this Agreement and General Release and that modifications hereof which are mutually
         agreed upon by the parties hereto, whether material or immaterial, do not restart the twenty-one
         (21) day period; (b) she has been advised to, and has had the opportunity to, consult Executive’s
         independent counsel with respect to this Agreement and General Release; (c) she has seven (7)
         calendar days from the date she executes this Agreement and General Release in which to revoke
         it; (d) she executes this Agreement and General Release freely and voluntarily and that she
         understands the significance of this Agreement and General Release; and (e) this Agreement and
         General Release will not be effective or enforceable, nor the Severance Benefits paid, unless the
         seven-day revocation period ends without revocation by Executive. Revocation can be made by
         delivery and receipt of a written notice of revocation to Bed Bath & Beyond, 650 Liberty Avenue,
         Union, NJ 07083, Attention: Chief People & Culture Officer, by midnight on or before the
         seventh calendar day after Executive signs this Agreement and General Release.

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    To be extended to 45 days in the event of a group termination under the ADEA.


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  9. This Agreement and General Release shall be binding on the Company and Executive and upon
     their respective heirs, representatives, successors and assigns, and shall run to the benefit of the
     Releasees and each of them and to their respective heirs, representatives, successors and assigns.

  10. This Agreement and General Release (and, to the extent explicitly provided herein, the
      Employment Agreement) sets forth the entire agreement between Executive and the Company, and
      fully supersede any and all prior agreements or understandings among them regarding its subject
      matter; provided, however, that nothing in this Agreement and General Release is intended to or
      shall be construed to limit, impair or terminate any obligation of Executive pursuant to any non-
      competition, non-solicitation, confidentiality or intellectual property agreements that have been
      signed by Executive where such agreements by their terms continue after Executive’s employment
      with the Company terminates (including, but not limited to, the Restrictive Covenants in the
      Employment Agreement). This Agreement and General Release may only be modified by written
      agreement signed by both parties.

  11. The Company and Executive agree that in the event any provision of this Agreement and General
      Release is deemed to be invalid or unenforceable by any court or administrative agency of
      competent jurisdiction, or in the event that any provision cannot be modified so as to be valid and
      enforceable, then that provision shall be deemed severed from the Agreement and General Release
      and the remainder of the Agreement and General Release shall remain in full force and effect.

  12. This Agreement and General Release shall be construed and enforced in accordance with the
      internal laws of the State of New York, without regard to principles of conflicts of laws.

  13. All actions or proceedings arising out of or relating to this Agreement and General Release shall
      be tried and litigated only in the New York State or Federal courts located in the County of New
      York, State of New York. The parties hereto hereby irrevocably submit to the exclusive jurisdiction
      of such courts for the purpose of any such action or proceeding. Notwithstanding the foregoing,
      either party may seek injunctive or equitable relief to enforce the terms of this Agreement and
      General Release in any court of competent jurisdiction.

  14. Each of the parties hereto hereby irrevocably waives all right to trial by jury in any action,
      proceeding or counterclaim arising out of or relating to this Agreement and General Release.

  15. The language of all parts of this Agreement and General Release in all cases shall be construed as
      a whole, according to its fair meaning, and not strictly for or against any of the parties.

                                      [Signature Page Follows]




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                       PLEASE READ CAREFULLY. THIS
                AGREEMENT AND GENERAL RELEASE INCLUDES A
                RELEASE OF ALL KNOWN AND UNKNOWN CLAIMS.

                                       COMPANY

                                       Bed Bath & Beyond Inc.

                                       By:

                                       Name:     Lynda Markoe

                                       Title:   Chief People & Culture Officer


                                       EXECUTIVE



                                       Mara Sirhal

                                       Date:         6/28/22


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                                             EXHIBIT B

                                  EXCLUDED WORK PRODUCT

               I have no inventions.

               The following is a complete list of all Work Product relative to the subject matter of my
               employment with the Company that have been created by me, alone or jointly with others,
               prior to the Effective Date, which might relate to the Company Group’s present business:




               Additional sheets attached.


Executive Signature:                                                    Date:    6/28/22

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                       EXHIBIT C
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                                                FIRST AMENDMENT TO
                                              EMPLOYMENT AGREEMENT


                   This First Amendment (this “Amendment”) is made and entered into as of August 31,
            2022 (the “Effective Date”), by and between Bed Bath & Beyond Inc., a New York corporation
            (the “Company”), and Mara Sirhal (“Executive”).

                  WHEREAS, the Company and the Executive are parties to that certain Employment
            Agreement, dated as of June 28, 2022 (the “Employment Agreement”);

                   WHEREAS, Executive has been employed by the Company as the Executive Vice
            President, Chief Merchandising Officer and General Manager, Harmon of the Company,
            pursuant to the terms and conditions of the Employment Agreement;

                     WHEREAS, the Company now desires to continue to employ Executive as Executive
            Vice President, Brand President, Bed Bath & Beyond effective as of the Effective Date pursuant
            to the terms and conditions of the Employment Agreement, as amended by the terms and
            conditions set forth in this Amendment; and

                   WHEREAS, Executive is willing and able to continue to be employed by the Company
            and desires to do so on the terms and conditions set forth herein.

                  NOW, THEREFORE, for good and valuable consideration, receipt of which is hereby
            acknowledged, the parties hereto agree as follows:

                    1.      Section 1(b) of the Employment Agreement is hereby amended and restated in its
            entirety to read as follows:

                                     “(b) During the Term, Executive shall serve as the Executive Vice
                             President, Brand President, Bed Bath & Beyond of the Company, and shall
                             perform such duties and have such responsibilities as are consistent with such
                             position and as may from time to time be assigned to Executive by the Company’s
                             Chief Executive Officer (“CEO”). As the Executive Vice President, Brand
                             President, Bed Bath & Beyond of the Company, Executive shall report to the
                             CEO. In addition, the CEO may from time to time, in his or her sole discretion,
                             assign to Executive such other duties, authorities and responsibilities that are not
                             inconsistent with Executive’s position as the Executive Vice President, Brand
                             President, Bed Bath & Beyond of the Company, including without limitation,
                             service as an officer and/or on the boards of directors and committees of one or
                             more of the Company’s subsidiaries, in each case, without additional
                             compensation.”

                    2.      Section 3(a) of the Employment Agreement is hereby amended and restated in its
            entirety to read as follows:



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                                      “(a) Base Salary. During the Term, Executive’s annual base salary (the
                                 “Base Salary”) shall be $600,000, payable in accordance with the Company’s
                                 regular payroll practices in effect from time to time and subject to all
                                 applicable taxes and withholdings, but no less frequently than in semi-
                                 monthly installments. The Base Salary may be adjusted by the People, Culture
                                 and Compensation Committee of the Board (the “Compensation Committee”)
                                 in its sole discretion. The parties acknowledge and agree that a portion of
                                 Executive’s Base Salary shall constitute consideration for Executive’s
                                 compliance with the restrictions and covenants set forth in Section 6 of this
                                 Agreement.”

                    3.      Section 3(b) of the Employment Agreement is hereby amended and restated in its
            entirety to read as follows:

                                     “(b) Annual Bonus. Beginning with respect to fiscal year 2022 and for
                                 each completed fiscal year thereafter during the Term, Executive shall be
                                 eligible to receive, with respect to periods from and after August 31, 2022, an
                                 annual cash performance bonus (the “Annual Bonus”), with a target Annual
                                 Bonus opportunity equal to seventy-five percent (75%) of her Base Salary;
                                 provided, that the Annual Bonus with respect to fiscal year 2022 shall be
                                 prorated for the portion of fiscal year 2022 during which Executive was
                                 employed by the Company as the Executive Vice President, Brand President,
                                 Bed Bath & Beyond (it being understood that Executive will also be eligible
                                 to receive an annual cash bonus payment with respect to the applicable bonus
                                 plan, and terms and conditions related thereto, in which she participated in
                                 fiscal year 2022 prior to August 31, 2022, prorated for the portion of fiscal
                                 year 2022 prior to August 31, 2022 during which she served as an employee).
                                 The Annual Bonus earned, if any, with respect to a fiscal year will be subject
                                 to the performance of Executive and the Company during such year, relative
                                 to performance goals established for such fiscal year by the Compensation
                                 Committee, and may, for the avoidance of doubt, be less than the target
                                 Annual Bonus opportunity with respect to such year. The Compensation
                                 Committee shall determine the level of attainment of performance goals and
                                 the amount of the Annual Bonus following the end of each fiscal year, and the
                                 Company shall pay the Annual Bonus, to the extent payable in accordance
                                 with this Section 3(b), on or before the date that is two and one-half (2½)
                                 months following the end of the fiscal year with respect to which it is earned,
                                 provided that Executive’s employment with the Company has not terminated
                                 on or prior to such date (except as expressly provided in Section 5(c) below).”

                    4.      Except as expressly set forth herein, all of the terms and conditions of the
            Employment Agreement shall remain in full force and effect. In the event and to the extent there
            is an inconsistency between any of the terms and provisions of the Employment Agreement and
            the terms and provisions of this Amendment, the terms and provisions of this Amendment shall
            govern.



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                   5.     This Amendment shall be governed, enforced, performed and construed in
            accordance with the provisions of Sections 7 and 11 of the Employment Agreement.

                    6.      This Amendment may be executed in one or more original, facsimile or electronic
            counterparts, each of which shall constitute an original, but all of which, when taken together,
            shall constitute but one instrument.


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                    IN WITNESS WHEREOF, the parties hereto have executed this Amendment as
            of the day and year first written above.


                                                              COMPANY:


                                                              BED BATH & BEYOND INC.




                                                              By:
                                                                    Name: Lynda Markoe
                                                                    Title: Chief People and Culture Officer


                                                             EXECUTIVE:




                                                             Mara Sirhal




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                                    [First Amendment to Sirhal Employment Agreement]
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                        Civil Case Information Statement
Case Details: UNION | Civil Part Docket# L-001291-23

Case Caption: BED BATH & BEYOND IN C. VS SIRHAL                  Case Type: EMPLOYMENT (OTHER THAN CEPA OR LAD)
MARA                                                             Document Type: Complaint with Jury Demand
Case Initiation Date: 04/21/2023                                 Jury Demand: YES - 12 JURORS
Attorney Name: MAXINE H NEUHAUSER                                Is this a professional malpractice case? NO
Firm Name: EPSTEIN BECKER & GREEN PC                             Related cases pending: NO
Address: ONE GATEWAY CTR 13TH FL                                 If yes, list docket numbers:
NEWARK NJ 07102                                                  Do you anticipate adding any parties (arising out of same
Phone: 9736421900                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : Bed Bath & Beyond Inc.                Does this case involve claims related to COVID-19? NO
Name of Defendant’s Primary Insurance Company
(if known): Unknown                                              Are sexual abuse claims alleged by: Bed Bath & Beyond Inc.? NO




       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Employer/Employee
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

04/21/2023                                                                                    /s/ MAXINE H NEUHAUSER
Dated                                                                                                          Signed
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                                    Exhibit A-3

                                     Answer
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James P. Chou, Esq. (No. 051951996)
Marshall O. Dworkin, Esq. (No. 057772013)
MORITT HOCK & HAMROFF, LLP
1407 Broadway, 39th Floor
New York, NY 10018
Tel: 212 239-2000
Attorneys for Defendant Mara Sirhal


 BED BATH & BEYOND INC.,                              SUPERIOR COURT OF NEW JERSEY
                                                      LAW DIVISION: UNION COUNTY

                           Plaintiff,                 DOCKET NO.: UNN-L-01291-23
             vs.
                                                                   Civil Action

                                                      DEFENDANT MARA SIRHAL’S ANSWER
 MARA SIRHAL,                                             TO PLAINTIFF’S COMPLAINT

                           Defendant.



        Defendant Mara Sirhal (“Sirhal” or “Defendant”), through her attorneys, Moritt Hock &

Hamroff LLP, hereby answers Plaintiff Bed Bath & Beyond, Inc.’s (“BBBY” or “Plaintiff”)

Complaint as follows:

                                               THE PARTIES
        1.         Defendant denies knowledge or information sufficient to form a belief as to the

allegations contained in Paragraph 1 of the Complaint.

        2.         Defendant admits that she is an individual residing in New Jersey and formerly

served as the Executive Vice President, Brand President of Bed Bath & Beyond, Inc., but denies

the remaining allegations contained in Paragraph 2 of the Complaint.

                                    JURISDICTION AND VENUE
        3.         The allegations contained in Paragraph 3 of the Complaint contain a legal

conclusion to which no response is required.




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        4.     The allegations contained in Paragraph 4 of the Complaint contain a legal

conclusion to which no response is required.

                                  FACTUAL ALLEGATIONS
        5.     Defendant denies the allegations contained in Paragraph 5 of the Complaint

because subsequent to the commencement of this action, Bed Bath & Beyond, Inc. (“BBBY”)

has filed for Chapter 11 bankruptcy.

        6.     Defendant admits the allegations contained in Paragraph 6 of the Complaint.

        7.     Defendant denies the allegations contained in Paragraph 7 of the Complaint that

she began actively working for BBBY on December 14, 2020 because she only began working at

BBBY on or about January 19, 2021, but admits the remainder of Paragraph 7 of the Complaint.

        8.     To the extent Paragraph 8 of the Complaint refers to the text of the Recognition

Award Agreement, the Recognition Award Agreement provides the best evidence of its terms

and no further response to the allegations contained in Paragraph 8 is required.

        9.     To the extent Paragraph 9 of the Complaint refers to the text of the Employment

Agreement, the Employment Agreement provides the best evidence of its terms and no further

response to the allegations contained in Paragraph 9 is required.

        10.    To the extent Paragraph 10 of the Complaint and its subparts refer to the text of

the Employment Agreement, the Employment Agreement provides the best evidence of its terms

and no further response to the allegations contained in Paragraph 10 is required.

        11.    To the extent Paragraph 11 of the Complaint refers to the text of the Employment

Agreement, the Employment Agreement provides the best evidence of its terms and no further

response to the allegations contained in Paragraph 11 is required. If a further response is

required, Defendant denies the allegations contained in Paragraph 11 of the Complaint.




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        12.    To the extent Paragraph 12 of the Complaint refers to the text of the Employment

Agreement, the Employment Agreement provides the best evidence of its terms and no response

to the allegations contained in Paragraph 12 is required. If a further response is required,

Defendant denies the allegations contained in Paragraph 12 of the Complaint.

        13.    To the extent Paragraph 13 of the Complaint refers to the text of the First

Amendment to the Employment Agreement (the “Amendment”), the Amendment provides the

best evidence of its terms and no response to such allegations is required.

        14.    To the extent Paragraph 14 of the Complaint refers to the text of the Amendment,

the Amendment provides the best evidence of its terms and no further response to the allegations

contained in Paragraph is required. If a further response is required, Defendant denies the

allegations contained in Paragraph 14 of the Complaint.

        15.    Defendant denies the allegations contained in Paragraph 15 of the Complaint.

        16.    To the extent Paragraph 16 of the Complaint refers to the text of the Amendment,

the Amendment provides the best evidence of its terms and no further response to such the

allegations contained in Paragraph 16 is required.

        17.    Defendant denies the allegations contained in Paragraph 17 of the Complaint.

        18.    Defendant denies the allegations contained in Paragraph 18 of the Complaint.

        19.    Defendant denies the allegations contained in Paragraph 19 of the Complaint.

        20.    Defendant denies the allegations contained in Paragraph 20 of the Complaint.

        21.    To the extent Paragraph 21 of the Complaint refers to the text of the Retention

Bonus Agreement (“RBA”), the RBA provides the best evidence of its terms and no further

response to the allegations contained in Paragraph 21 is required. If a further response is




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required, Defendant denies the allegations contained in Paragraph 21 of the Complaint, except

admits that she was paid $314,0000.00 pursuant to RBA.

        22.    Defendant admits that she entered into the Retention Bonus Agreement, but

denies the remaining allegations contained in Paragraph 22 of the Complaint because BBBY had

promised Defendant and other executives the Retention Bonus since at least the beginning of

January, long before BBBY finalized plans to close Harmon or BBBY stores and certainly

before Defendant was aware of those closure plans.

        23.    Defendant denies the allegations contained in Paragraph 23 of the Complaint.

        24.    Defendant denies the allegations contained in Paragraph 24 of the Complaint.

        25.    To the extent Paragraph 25 and subparts 25(a), (b) and (c) of the Complaint refers

to the text of the March 10, 2023, letter (“March 10 Letter”), the March 10 Letter provides the

best evidence of its text and no further response to the allegations contained in Paragraph 25 is

required.

        26.    Defendant denies the allegations contained in Paragraph 26 of the Complaint.

        27.    Defendant denies the allegations contained in Paragraph 27 of the Complaint.

        28.    Defendant denies the allegations contained in Paragraph 28 of the Complaint.

        29.    Defendant denies the allegations contained in Paragraph 29 of the Complaint.

        30.    Defendant denies the allegations contained in Paragraph 30 of the Complaint.

        31.    Defendant denies the allegations contained in Paragraph 31 of the Complaint.

        32.    To the extent Paragraph 32 of the Complaint refers to the March 16, 2023, letter

(“March 16 Letter”), the March 16 Letter provides the best evidence of its text and no further

response to the allegations contained in Paragraph 32 is required.




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        33.      To the extent Paragraph 33 and subparts 33(a), (b) and (c) of the Complaint refers

to the March 16 Letter, the March 16 Letter provides the best evidence of its text and no further

response to the allegations contained in Paragraph 33 is required.

        34.      To the extent Paragraph 34 of the Complaint refers to the March 20, 2023, letter

(the “March 20 Letter”), the March 20 Letter provides the best evidence of its text and no further

response to the allegations contained in Paragraph 34 is required.

        35.      Defendant denies the allegations contained in Paragraph 35 of the Complaint.

        36.      Defendant denies the allegations contained in Paragraph 36 of the Complaint.

                                       COUNT ONE
       (Breach of Contract – Employment Agreement and First Amendment to Employment
                                         Agreement)

        37.      Defendant denies the allegations contained in Paragraph 37 of the Complaint.

        38.      Defendant denies the allegations contained in Paragraph 38 of the Complaint.

        39.      Defendant denies the allegations contained in Paragraph 39 of the Complaint.

        40.      Defendant denies the allegations contained in Paragraph 40 of the Complaint.

        WHEREFORE, Defendant respectfully requests that Plaintiff take nothing by this action;

that judgment be entered in favor of Defendant and against Plaintiff on all Causes of Action; that

Defendant be awarded her costs and/or attorneys’ fees herein incurred pursuant to applicable law

should she prevail in this lawsuit; and that the Court award Defendant such other and further relief

as it deems proper.

                                                COUNT TWO
                                    (Breach of Contract – Retention Bonus)

        41.      Defendant repeats and realleges her responses set forth in Paragraphs 1 through 40

of the Answer as if set forth at length herein.

              42. Defendant denies the allegations contained in Paragraph 42 of the Complaint.



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        WHEREFORE, Defendant respectfully requests that Plaintiff take nothing by this action;

that judgment be entered in favor of Defendant and against Plaintiff on all Causes of Action; that

Defendant be awarded her costs and/or attorneys’ fees herein incurred pursuant to applicable law

should she prevail in this lawsuit; and that the Court award Defendant such other and further relief

as it deems proper.

                                           COUNT THREE
                          (Breach of Contract – Recognition Award Agreement)

        43.    Defendant repeats and realleges her responses set forth in Paragraphs 1 through

42 of the Answer as if set forth at length herein.

        44.    Defendant denies the allegations contained in Paragraph 44 of the Complaint.

        45.    Defendant denies the allegations contained in Paragraph 45 of the Complaint.

        WHEREFORE, Defendant respectfully requests that Plaintiff take nothing by this action;

that judgment be entered in favor of Defendant and against Plaintiff on all Causes of Action; that

Defendant be awarded her costs and/or attorneys’ fees herein incurred pursuant to applicable law

should she prevail in this lawsuit; and that the Court award Defendant such other and further relief

as it deems proper.

                                           COUNT FOUR
                        (Breach of the Covenant of Good Faith and Fair Dealing)

        46.    Defendant repeats and realleges her responses set forth in Paragraphs 1 through

45 of the Answer as if set forth at length herein.

        47.    Defendant denies the allegations contained in Paragraph 47 of the Complaint.

        48.    Defendant denies the allegations contained in Paragraph 48 of the Complaint.

        49.    Defendant denies the allegations contained in Paragraph 49 of the Complaint.




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        WHEREFORE, Defendant respectfully requests that Plaintiff take nothing by this action;

that judgment be entered in favor of Defendant and against Plaintiff on all Causes of Action; that

Defendant be awarded her costs and/or attorneys’ fees herein incurred pursuant to applicable law

should she prevail in this lawsuit; and that the Court award Defendant such other and further relief

as it deems proper.

                                             COUNT FIVE
                                        (Fraud – Retention Bonus)

        50.    Defendant repeats and realleges her responses set forth in Paragraphs 1 through

49 of the Answer as if set forth at length herein.

        51.    Defendant denies the allegations contained in Paragraph 51 of the Complaint.

        52.    Defendant denies the allegations contained in paragraph 52 of the Complaint.

        53.    Defendant denies the allegations contained in Paragraph 53 of the Complaint.

        54.    Defendant denies the allegations contained in Paragraph 54 of the Complaint.

        WHEREFORE, Defendant respectfully requests that Plaintiff take nothing by this action;

that judgment be entered in favor of Defendant and against Plaintiff on all Causes of Action; that

Defendant be awarded her costs and/or attorneys’ fees herein incurred pursuant to applicable law

should she prevail in this lawsuit; and that the Court award Defendant such other and further relief

as it deems proper.

                                      AFFIRMATIVE DEFENSES

        1.     The Complaint fails to state a claim upon which relief may be granted.

        2.     The Complaint is barred, in whole or in part, by the doctrine of unclean hands.

        3.     The Complaint is barred, in whole or in part, by impossibility of performance.

        4.     The Complaint is barred, in whole or in part, by the doctrine of economic duress.




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        5.     Plaintiff has engaged in conduct or activities sufficient to constitute a waiver of any

claims or causes of action which Plaintiff may otherwise have had against Defendant.

        6.     Plaintiff is estopped from pursuing the Complaint, in whole or in part, by virtue of

its conduct.

        7.     The Complaint is barred, in whole or in part, because Defendant’s actions were

taken in good faith.

        8.     The Complaint is barred, in whole or in part, by the doctrine of laches and/or

applicable statute of limitations.

        9.     The Complaint, in whole or in part, is barred by Plaintiff’s failure to avoid

consequences or mitigate alleged damages.

        10.    Plaintiff’s Complaint and each cause of action contained therein are barred, in

whole or in part, by Plaintiff’s fraudulent conduct.

        11.    Defendant reserves the right to assert additional affirmative defenses upon the

discovery of facts not presently known.

                                      DEMAND FOR TRIAL BY JURY

        Defendant Mara Sirhal demands trial by jury.




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                                DESIGNATION OF TRIAL COUNSEL

         In accordance with R. 4:25-4, James P. Chou, Esq. is designated as trial counsel in this

case.



Dated: New York, New York
       July 31, 2023

                                                      MORITT HOCK & HAMROFF LLC


                                                 By: /s/ James P. Chou
                                                         James P. Chou, Esq.
                                                         Marshall O. Dworkin, Esq.
                                                         1407 Broadway, 39th Floor
                                                         New York, New York 10018
                                                         Tel: 212 239-2000

                                                         Attorneys for Defendant




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Case 23-01235-VFP                  Doc 1    Filed 08/21/23 Entered 08/21/23 10:16:33                           Desc Main
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                        Civil Case Information Statement
Case Details: UNION | Civil Part Docket# L-001291-23

Case Caption: BED BATH & BEYOND IN C. VS SIRHAL                  Case Type: EMPLOYMENT (OTHER THAN CEPA OR LAD)
MARA                                                             Document Type: Answer W/Jury Demand
Case Initiation Date: 04/21/2023                                 Jury Demand: YES - 12 JURORS
Attorney Name: MARSHALL O DWORKIN                                Is this a professional malpractice case? NO
Firm Name: MORITT HOCK & HAMROFF LLP                             Related cases pending: NO
Address: 1407 BROADWAY 39TH FL                                   If yes, list docket numbers:
NEW YORK NY 10018                                                Do you anticipate adding any parties (arising out of same
Phone: 2122392000                                                transaction or occurrence)? NO
Name of Party: DEFENDANT : SIRHAL, MARA                          Does this case involve claims related to COVID-19? NO
Name of Defendant’s Primary Insurance Company
(if known): None                                                 Are sexual abuse claims alleged by: BED BATH & BEYOND INC.?
                                                                 NO



       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Employer/Employee
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

07/31/2023                                                                                   /s/ MARSHALL O DWORKIN
Dated                                                                                                         Signed
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                                       Exhibit B

                              Bankruptcy Court Pleadings

           B-1. Voluntary Petition for Non-Individuals Filing for Bankruptcy

  B-2. Order (I) Directing Joint Administration of Chapter 11 Cases and (II) Granting
                             Related Relief [Docket No. 75]

B-3. Order Enlarging the Period Within Which the Debtors May Remove Actions and (II)
                      Granting Related Relief [Docket No. 1403]
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                                    Exhibit B-1

           Voluntary Petition for Non-Individuals Filing for Bankruptcy
         Case
           Case
              23-01235-VFP
                23-13359 Doc
                           Doc
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                                   Filed
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                                  Document Page Page95
                                                     1 of 135
                                                          18
Fill in this information to identify the case:

United States Bankruptcy Court for the:
                            District of New Jersey
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Bed Bath & Beyond Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer              1         1   –      2     2     5      0       4      8     8
   Identification Number (EIN)

4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       650 Liberty Avenue
                                       Number               Street                                    Number         Street


                                                                                                      P.O. Box
                                       Union, New Jersey 07083
                                          City                            State       Zip Code        City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Union County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.bedbathandbeyond.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
         Case
           Case
              23-01235-VFP
                23-13359 Doc
                           Doc
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                                  Document Page Page96
                                                     2 of 135
                                                          18
Debtor            Bed Bath & Beyond Inc.                                              Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            4422 (Home Furnishings Stores)

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☐      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☒      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
         Case
           Case
              23-01235-VFP
                23-13359 Doc
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                                Document
                                  Document Page Page97
                                                     3 of 135
                                                          18
Debtor           Bed Bath & Beyond Inc.                                            Case number (if known)
          Name



10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                      Relationship    Affiliate
                                                    Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                        District      District of New Jersey
   List all cases. If more than 1,                                                                                 When            04/23/2023
   attach a separate list.                        Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this     Check all that apply:
    district?
                                      ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have       ☒ No
    possession of any real            ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?
                                                ☐     It needs to be physically secured or protected from the weather.

                                                ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                       (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                       other options).
                                                ☐     Other


                                                Where is the property?
                                                                                      Number          Street



                                                                                      City                                 State       Zip Code



                                                Is the property insured?
                                                ☐ No

                                                ☐ Yes.         Insurance agency

                                                               Contact name
                                                               Phone




                  Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds
                                     ☒ Funds will be available for distribution to unsecured creditors.
                                     ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of              ☐     1-49                         ☐     1,000-5,000                      ☒     25,001-50,000
    creditors (on a                  ☐     50-99                        ☐     5,001-10,000                     ☐     50,001-100,000
    consolidated basis)              ☐     100-199                      ☐     10,001-25,000                    ☐     More than 100,000
                                     ☐     200-999




   Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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                                                     4 of 135
                                                          18
Debtor            Bed Bath & Beyond Inc.                                              Case number (if known)
          Name



15. Estimated assets (on a            ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)               ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on         ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)             ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         04/23/2023
                                                               MM/ DD / YYYY


                                               /s/                                                                Holly Etlin
                                               Signature of authorized representative of debtor                Printed name

                                               Title   Chief Financial Officer and Chief
                                                       Restructuring Officer




18. Signature of attorney                      /s/ Michael D. Sirota                                          Date        04/23/2023
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Michael D. Sirota
                                               Printed name
                                               Cole Schotz P.C.
                                               Firm name
                                               Court Plaza North, 25 Main Street
                                               Number                 Street
                                                                                                                         New
                                               Hackensack                                                               Jersey          07601
                                               City                                                                   State               ZIP Code

                                               (201) 489-3000                                                         msirota@coleschotz.com
                                               Contact phone                                                              Email address
                                               014321986                                           New Jersey
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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Official Form 201A (12/15)

                                             UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF NEW JERSEY

                                                                          )
    In re:                                                                )       Chapter 11
                                                                          )
    BED BATH & BEYOND INC.,                                               )       Case No. 23-___________(___)
                                                                          )
                                     Debtor.                              )
                                                                          )
         Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

         1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
     number is   0-20214

        2. The following financial data is the latest available information and refers to the debtor’s condition on
     August 27, 2022/November 26, 2022


          (a)   Total assets                                                  $    4,401,426,000
          (b)   Total debts (including debts listed in 2.c., below)           $    5,200,069,000
          (c)   Debt securities held by more than 500 holders                      3
                                                                                                             Approximate
                                                                                                             number of
                                                                                                             holders:
          secured ☐        unsecured ☒        subordinated      ☐     $ 284,391,000                          3,650
          secured ☐        unsecured ☒        subordinated      ☐     $ 225,000,000                          4,125
          secured ☐        unsecured ☒        subordinated      ☐     $ 675,010,000                          2,175
          secured ☐        unsecured ☐        subordinated      ☐     $
          secured ☐        unsecured ☐        subordinated      ☐     $


          (d)   Number of shares of preferred stock                                                          180
          (e)   Number of shares of common stock                                                             739,056,836 1


         Comments, if any:    Debt securities in section 2(c) are as of August 27, 2022. All other information is as of
     November 26, 2022, the date of the Company’s last quarterly filing.



         3. Brief description of debtor’s business: An omni-channel retailer offering a wide assortment or merchandise in the
     home, baby, beauty and wellness markets and operates under the names Bed Bath & Beyond, buybuy BABY and Harmon,
     Harmon Face Values or Face Values.

          4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
     voting securities of debtor:
     N/A




1
    Total outstanding preferred stock in section 2(d) and common stock in section 2(e) reflects the latest available, unaudited
    information and is based solely on the Debtor’s records.
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     Fill in this information to identify the case:
                                                                                     ,
     United States Bankruptcy Court for the:
                                District of New Jersey
                                            (State)                                                                  ☐ Check if this is an
     Case number (if known):                              Chapter     11                                                 amended filing


                                                        Rider 1
                         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

            On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
    States Bankruptcy Court for the District of New Jersey for relief under chapter 11 of title 11 of the United States Code.
    The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
    case of Bed Bath & Beyond Inc.

•     Bed Bath & Beyond Inc.                          •   Bed Bath & Beyond of Manhattan, Inc.        •   Harmon of Hanover, Inc.
•     Alamo Bed Bath & Beyond Inc.                    •   Bed Bath & Beyond of Opry Inc.              •   Harmon of Hartsdale, Inc.
•     BBB Canada LP Inc.                              •   Bed Bath & Beyond of Overland Park Inc.     •   Harmon of Manalapan, Inc.
•     BBB Value Services Inc.                         •   Bed Bath & Beyond of Palm Desert Inc.       •   Harmon of Massapequa, Inc.
•     BBBY Management Corporation                     •   Bed Bath & Beyond of Paradise Valley Inc.   •   Harmon of Melville, Inc.
•     BBBYCF LLC                                      •   Bed Bath & Beyond of Pittsford Inc.         •   Harmon of New Rochelle, Inc.
•     BBBYTF LLC                                      •   Bed Bath & Beyond of Portland Inc.          •   Harmon of Newton, Inc.
•     Bed Bath & Beyond of Annapolis, Inc.            •   Bed Bath & Beyond of Rockford Inc.          •   Harmon of Old Bridge, Inc.
•     Bed Bath & Beyond of Arundel Inc.               •   Bed Bath & Beyond of Towson Inc.            •   Harmon of Plainview, Inc.
•     Bed Bath & Beyond of Baton Rouge Inc.           •   Bed Bath & Beyond of Virginia Beach Inc.    •   Harmon of Raritan, Inc.
•     Bed Bath & Beyond of Birmingham Inc.            •   Bed Bath & Beyond of Waldorf Inc.           •   Harmon of Rockaway, Inc.
•     Bed Bath & Beyond of Bridgewater Inc.           •   Bed Bath & Beyond of Woodbridge Inc.        •   Harmon of Shrewsbury, Inc.
•     Bed Bath & Beyond of California Limited
                                                      •   bed 'n bath Stores Inc.                     •   Harmon of Totowa, Inc.
      Liability Company
•     Bed Bath & Beyond of Davenport Inc.             •   Buy Buy Baby of Rockville, Inc.             •   Harmon of Wayne, Inc.
•     Bed Bath & Beyond of East Hanover Inc.          •   Buy Buy Baby of Totowa, Inc.                •   Harmon of Westfield, Inc.
•     Bed Bath & Beyond of Edgewater Inc.             •   Buy Buy Baby, Inc.                          •   Harmon of Yonkers, Inc.
•     Bed Bath & Beyond of Falls Church, Inc.         •   BWAO LLC                                    •   Harmon Stores, Inc.
•     Bed Bath & Beyond of Fashion Center, Inc.       •   Chef C Holdings LLC                         •   Liberty Procurement Co. Inc.
•     Bed Bath & Beyond of Frederick, Inc.            •   Decorist, LLC                               •   Of a Kind, Inc.
•     Bed Bath & Beyond of Gaithersburg Inc.          •   Deerbrook Bed Bath & Beyond Inc.            •   One Kings Lane LLC
•     Bed Bath & Beyond of Gallery Place L.L.C.       •   Harmon of Brentwood, Inc.                   •   San Antonio Bed Bath & Beyond Inc.
•     Bed Bath & Beyond of Knoxville Inc.             •   Harmon of Caldwell, Inc.                    •   Springfield Buy Buy Baby, Inc.
•     Bed Bath & Beyond of Lexington Inc.             •   Harmon of Carlstadt, Inc.
•     Bed Bath & Beyond of Lincoln Park Inc.          •   Harmon of Franklin, Inc.
•     Bed Bath & Beyond of Louisville Inc.            •   Harmon of Greenbrook II, Inc.
•     Bed Bath & Beyond of Mandeville Inc.            •   Harmon of Hackensack, Inc.
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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY

                                                        )
    In re:                                              )     Chapter 11
                                                        )
    BED BATH & BEYOND INC.,                             )     Case No. 23-___________(___)
                                                        )
                             Debtor.                    )     (Joint Administration Requested)
                                                        )

                                  LIST OF EQUITY SECURITY HOLDERS 1

                                                                       Type of Equity      Percentage of
             Equity Holder             Address of Equity Holder
                                                                         Security 2         Equity Held
                 N/A                              N/A                        N/A                 N/A




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case. By the Debtors’ Motion for Entry of
       Interim and Final Orders (I) Authorizing the Debtors to (A) File A Consolidated List of the Debtors’ 30
       Largest Unsecured Creditors (B) File A Consolidated List of Creditors in Lieu of Submitting A Separate
       Mailing Matrix for Each Debtor, (C) Redact Certain Personally Identifiable Information, (D) Waiving the
       Requirement to File A List of Equity Holders and Provide Notices Directly to Equity Security Holders,
       and (II) Granting Related Relief filed contemporaneously herewith, the Debtor is requesting a waiver of
       the requirement under Bankruptcy Rule 1007 to file a list of all of its equity security holders.

2      Outstanding warrants are not reflected in ownership.
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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY

                                                     )
 In re:                                              )    Chapter 11
                                                     )
 BED BATH & BEYOND INC.,                             )    Case No. 23-___________(___)
                                                     )
                         Debtor.                     )    (Joint Administration Requested)
                                                     )

                               CORPORATE OWNERSHIP STATEMENT

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, there are
no corporations, other than a government unit, that directly or indirectly own 10% or more of any class of
the debtor’s equity interests.
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    Fill in this information to identify the case:

    Debtor name:                    Bed Bath & Beyond Inc, et al.
    United States Bankruptcy Court for the ___District of New Jersey
                                                  (State)
    Case number (If known):                                                                                                                      ☐ Check if this is an
                                                                                                                                                 amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
Largest Unsecured Claims and Are Not Insiders1                               12/15

A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
        Name of creditor and complete mailing     Name, telephone number, and email          Nature of the     Indicate if claim   Amount of unsecured claim
            address, including zip code              address of creditor contact               claim (for       is contingent,     If the claim is fully unsecured, fill in only
                                                                                            example, trade     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                              debts, bank          disputed        secured, fill in total claim amount and
                                                                                                 loans,                            deduction for value of collateral or setoff to
                                                                                             professional                          calculate unsecured claim.
                                                                                             services, and                          Total      Deduction         Unsecured claim
                                                                                             government                            claim, if   for value
                                                                                               contracts)                          partially       of
                                                                                                                                   secured     collateral
                                                                                                                                               or setoff
                                                CLAYTON COLQUITT
            BNY MELLON                          (412)-236-5807
    1
            500 ROSS ST 12TH FLOOR              CLAYTON.COLQUITT@BNYMELLON.                 UNSECURED
            PITTSBURGH, PA 15262                COM                                           BONDS                                                          $1,184,694,000.00

            PERSONALIZATIONMALL                 ROBERT TURNER
    2
            51 SHORE DR                         (630)-910-6000                                 TRADE
            BURR RIDGE, IL 60527                ROBERTT@PMALL.COM                             PAYABLE                                                           $11,095,721.42

            INTERSOFT DATA LABS INC             RALPH LIUZZO
    3
            1330 W FULTON MARKET                (410)-461-4723                                 TRADE
            CHICAGO, IL 60607                   RALPH.LIUZZO@INTSOF.COM                       PAYABLE                                                           $6,836,763.63
            FEDERAL HEATH SIGN
            COMPANY LLC                         SUSAN ALDRIDGE
    4
            P.O. BOX 678203                     (800)-342-2597                                 TRADE
            TAMPA, FL 33626                     SALDRIDGE@FEDERALHEATH.COM                    PAYABLE                                                           $6,770,268.26

            KDM POPSOLUTIONS GROUP              BILL ZIMMERMAN
    5
            10450 MEDALLION                     (513)-769-3500                                 TRADE
            CINCINNATI, OH 45241                B.ZIMMERMAN@KDMPOP.COM                        PAYABLE                                                           $6,641,012.24
            COMMISSION JUNCTION INC
            530 E. MONTECITO STREET             SOPHIE RAMOS
    6
            #106                                (805)-971-3037                                 TRADE
            SANTA BARBARA, CA 93103             CJAR@CJ.COM                                   PAYABLE                                                           $6,162,076.79
                                                ROBERT GIOVINO
            IDX                                 (800)-939-4170
    7
            101 RIVER RIDGE                     ROBERT.GIOVINO@IDXCORPORATI                    TRADE
            JEFFERSONVILLE, IN 47130            ON.COM                                        PAYABLE                                                           $4,920,884.34




1
          On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, and Debtors with
          respect to all or any portion of the claims listed below. Moreover, nothing herein shall affect any Debtor’s right to challenge the amount
          or characterization of any claim at a later date.

    Official Form 204                                 List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                      Page 1
               Case
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    Name of creditor and complete mailing     Name, telephone number, and email          Nature of the     Indicate if claim   Amount of unsecured claim
        address, including zip code              address of creditor contact               claim (for       is contingent,     If the claim is fully unsecured, fill in only
                                                                                        example, trade     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                          debts, bank          disputed        secured, fill in total claim amount and
                                                                                             loans,                            deduction for value of collateral or setoff to
                                                                                         professional                          calculate unsecured claim.
                                                                                         services, and                          Total      Deduction         Unsecured claim
                                                                                         government                            claim, if   for value
                                                                                           contracts)                          partially       of
                                                                                                                               secured     collateral
                                                                                                                                           or setoff


        NATIONAL TREE COMPANY               DONNA CYRIL
8
        2 COMMERCE DRIVE                    (800)-280-8733                                 TRADE
        CRANFORD, NJ 07016                  DONNA@NATIONALTREE.COM                        PAYABLE                                                           $4,527,134.54
        NORTH AMERICAN
        CORPORATION                         KRISTIE SCHNIER
9
        2101 CLAIRE COURT                   (847)-832-4000                                 TRADE
        GLENVIEW, IL 60025                  KSCHNIER@NA.COM                               PAYABLE                                                           $4,384,027.43
                                            ANDREA GRASSI
        KEECO LLC                           (212)-685-9077
10
        30736 WIEGMAN ROAD                  ANDREAG@GRASSIASSOCIATESINC.                   TRADE
        HAYWARD, CA 94544                   COM                                           PAYABLE                                                           $4,231,687.55

        FEDEX                               GREGORY DI SESSA
11
        P.O. BOX 371461                     (201)-787-0091                                 TRADE
        PITTSBURGH, PA 15250                GJDISESSA@FEDEX.COM                           PAYABLE                                                           $3,884,415.89
                                            CINDY TREAGER
        TEMPUR-PEDIC                        (859)-455-2483
12
        2 COMMERCE DRIVE                    CINDY.TREAGER@TEMPURSEALY.C                    TRADE
        CRANFORD, NJ 07016                  OM                                            PAYABLE                                                           $3,733,616.10
        FACEBOOK, INC.
        15161 COLLECTIONS CENTER            MARVIN ROBLES
13
        DRIVE                               (512)-543-2942                                 TRADE
        CHICAGO, IL 60693                   IDOAN@FACEBOOK.COM                            PAYABLE                                                           $3,428,867.98

        ARTSANA USA INC                     STEVE RUBIN
14
        1826 WILLIAM PENN WAY               (877)-424-4226                                 TRADE
        LANCASTER, PA 17601                 STEVE.RUBIN@ARTSANA.COM                       PAYABLE                                                           $3,323,738.80
                                            CAROL MARKS
        LIFETIME BRANDS INC                 (609)-241-7321
15
        150 EAST 58TH STREET                CAROL.MARKS@LIFETIMEBRANDS.C                   TRADE
        NEW YORK, NY 10155                  OM                                            PAYABLE                                                           $3,279,438.28

        KEPLER GROUP LLC                    HANNAH GROBMYER
16
        P O BOX 419271                      (646)-524-6896                                 TRADE
        BOSTON, MA 02241                    HGROBMYER@KEPLERGRP.COM                       PAYABLE                                                           $3,260,123.50
                                            VANNESCIA WATKINS-BANKS
        WILLIAM CARTER CO.                  (646)-677-0866
17
        3438 PEACHTREE ROAD NE              VANNESCIA.WATKINS-                             TRADE
        ATLANTA, GA 30326                   BANKS@CARTERS.COM                             PAYABLE                                                           $3,143,426.77

        TESTRITE PRODUCTS CORP.             CLAUDIA VEGA
18
        1900 S BURGUNDY PLACE               (909)-605-9899                                 TRADE
        ONTARIO, CA 91761                   CLAUDIA.V@TESTRITE-USA.COM                    PAYABLE                                                           $3,051,808.69

        VERIZON BUSINESS NETWORK            NORMA MCEWAN
19
        ONE VERIZON WAY                     (866)-925-0077                                 TRADE
        BASKING RIDGE, NJ 07920             NORMA.MCEWAN@VERIZON.COM                      PAYABLE                                                           $2,962,792.95

        Pinterest, Inc.                     COLE REUTTER
20
        651 BRANNAN ST                      (415)-62-7100                                  TRADE
        SAN FRANCISCO, CA 94107             AR@PINTEREST.COM                              PAYABLE                                                           $2,839,480.57

Official Form 204                                 List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                      Page 2
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 Name of creditor and complete mailing     Name, telephone number, and email          Nature of the     Indicate if claim   Amount of unsecured claim
     address, including zip code              address of creditor contact               claim (for       is contingent,     If the claim is fully unsecured, fill in only
                                                                                     example, trade     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                       debts, bank          disputed        secured, fill in total claim amount and
                                                                                          loans,                            deduction for value of collateral or setoff to
                                                                                      professional                          calculate unsecured claim.
                                                                                      services, and                          Total      Deduction         Unsecured claim
                                                                                      government                            claim, if   for value
                                                                                        contracts)                          partially       of
                                                                                                                            secured     collateral
                                                                                                                                        or setoff


      BRIDGETREE LLC                     MICHELE BOVE
21
      133 NORTH MAIN STREET              (704)-604-8708                                 TRADE
      MOORESVILLE, NC 28115              MBOVE@BRIDGETREE.COM                          PAYABLE                                                           $2,658,031.85
      CITRUS AD INTERNATIONAL            STEPHANIE RICHMOND
      INC                                (813)-451-4794
22
      P.O. BOX 7410138                   STEPHANIE.RICHMOND@CITRUSAD.                   TRADE
      Chicago, IL 60674                  COM                                           PAYABLE                                                           $2,639,065.54
      KEURIG GREEN MOUNTAIN
      INC.                               ANDREW ARCHAMBAULT
23
      PO BOX 414159                      (781)-460-4507                                 TRADE
      BOSTON, MA 02241                   ARCHAMBAULT@KEURIG.COM                        PAYABLE                                                           $2,637,919.04

      THE KNOT WORLDWIDE INC             ASHLEY BERGEN
24
      PO BOX 32177                       (877)-331-7752                                 TRADE
      NEW YORK, NY 10087                 ABERGEN@THEKNOTWW.COM                         PAYABLE                                                           $2,628,538.02
      SHARKNINJA SALES
      COMPANY                            CAROL WEINBERG
25
      89 A STREET                        (855)-427-5127                                 TRADE
      NEEDHAM, MA 02494                  CWEINBERG@SHARKNINJA.COM                      PAYABLE                                                           $2,622,349.48

      LENOX CORPORATION                  CYNTHIA LAFFERTY
26
      1414 RADCLIFFE STREET              (732)-642-7332                                 TRADE
      BRISTOL, PA 19007                  CYNTHIA_LAFFERTY@LENOX.COM                    PAYABLE                                                           $2,578,451.71
                                         DEBORAH COLEY
      BLUE YONDER INC                    (480)-308-3000
27
      15059 N SCOTTSDALE RD              DEBORAH.COLEY@BLUEYONDER.CO                    TRADE
      SCOTTSDALE, AZ 85254               M                                             PAYABLE                                                           $2,483,355.00

      F 3 METALWORX INC                  LORENA UNTALAN
28
      12069 EAST MAIN ROAD               (716)-439-8771                                 TRADE
      NORTH EAST, PA 16428               LUNTALAN@F3METALWORX.COM                      PAYABLE                                                           $2,480,004.13

      MADIX INC.                         SCOTT SCHERBAK
29
      500 AIRPORT RD                     (800)-527-2129                                 TRADE
      TERRELL, TX 75160                  SSCHERBA@MADIXINC.COM                         PAYABLE                                                           $2,453,870.05
      GRANITE                            LISA BURTON
      TELECOMMUNICATIONS LLC             (866)-847-5500
30
      P.O. BOX 983119                    LMARIEBURTON@GRANITENET.CO                     TRADE
      BOSTON, MA 02298                   M                                             PAYABLE                                                           $2,413,661.88




Official Form 204                              List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                      Page 3
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                        OMNIBUS RESOLUTION OF THE
               BOARD OF DIRECTORS, OF BED BATH & BEYOND INC.

                                         April 22, 2023

         The requisite members of the board of directors (the “Board”) of Bed Bath & Beyond
 Inc., a New York corporation (“Bed Bath & Beyond” or the “Company”), organized and
 existing under the internal laws of New York, as set forth in the Company’s charter of
 incorporation, hereby take the following actions and adopt the following resolutions pursuant
 to the Company’s bylaws and the applicable laws of the state or country of incorporation of the
 Company.

 1.     Resolutions

         WHEREAS, the Board, having reviewed and considered (i) the filing of a voluntary
 petition for relief for the Company under the provisions of chapter 11 of title 11 of the United
 States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) pursuant to
 applicable law and in accordance with the requirements of the Company’s governing documents
 and applicable law (the “Restructuring Matters”); and (ii) to the extent applicable, authorizing
 entry into and performance under the DIP Facility Documents as defined herein,

       WHEREAS, on February 2, 2023, pursuant to Article IV, Section 1 of the Bylaws of
 the Company, the Board previously appointed Holly Etlin as Interim Chief Financial Officer of
 the Company,

         WHEREAS, pursuant to Article IV, Section 1 of the Bylaws of the Company, the Board
 deems it advisable and in the best interests of the Company and its shareholders to appoint Holly
 Etlin as Chief Financial Officer,

         WHEREAS, the Board having reviewed and considered the materials presented by the
 management of the Company and the Company’s financial and legal advisors, and having had
 adequate opportunity to consult such persons regarding the materials presented, obtain
 additional information, and to fully consider each of the strategic alternatives available to the
 Company,

         NOW, THEREFORE, IT IS HEREBY RESOLVED, that, pursuant to the articles of
 incorporation and applicable governing documents of the Company, the undersigned do hereby
 adopt the following resolutions:

        Chapter 11 Filing

         RESOLVED, in the business judgment of the Board it is desirable and in the best
 interest of the Company, the stakeholders, the creditors, and other parties in interest, that the
 Company files or causes to be filed voluntary petitions for relief (the “Bankruptcy Petitions”)
 under the provisions of chapter 11 of the Bankruptcy Code in the United States Bankruptcy
 Court for the District of New Jersey, and any other petition for relief or recognition or other
 order that may be desirable under applicable law in the United States, and, in accordance with
 the requirements in the Company’s governing documents and applicable law, hereby consents
 to, authorizes and approves, the filing of the Bankruptcy Petitions;
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          RESOLVED, any director or other duly appointed officer of the Company (collectively,
 the “Authorized Persons”), which shall include the Chief Restructuring Officer, the Chief
 Executive Officer, Chief Financial Officer, General Counsel, any Executive Vice President, or
 any Senior Vice President, shall be, and each of them individually hereby is, authorized and
 directed for and on behalf of the Company to take all actions (including, without limitation, to
 negotiate and execute any documents, certificates, supplemental agreements, and instruments)
 to act as signatory and attorney on behalf of the Company in respect of the Restructuring Matters
 and/or any persons to whom such Authorized Persons and/or officers delegate certain
 responsibilities, be, and hereby are, authorized to execute and file on behalf of the Company all
 petitions, schedules, lists, and other motions, papers, or documents, and to take any and all
 action that they deem necessary or proper to obtain such relief, including, but not limited to,
 any action necessary or proper to maintain the ordinary course operations of the Company’s or
 any of its subsidiary’s businesses.

         Appointment of Chief Restructuring Officer

        RESOLVED, that Holly Etlin be, and hereby is, appointed to serve as the Chief
 Restructuring Officer of each Company;

       RESOLVED, the Chief Restructuring Officer shall have such authority with respect to
 the Companies as is described in that certain engagement letter dated as of April 21, 2023, by
 and among the Company and AP Services, LLC (the “Engagement Letter”);

         RESOLVED, that Ms. Etlin shall be and is hereby authorized to manage the chapter 11
 cases and court-supervised liquidation and sale process, and shall report directly to and serve at
 the direction of an ad hoc committee of the following directors of the Boards, Carol Flaton,
 Pamela Corrie, Jonathan Foster, and Joshua Schechter, in accordance with the terms and
 conditions of the Engagement Letter and these resolutions;

         RESOLVED, that the Engagement Letter is hereby approved, and any Authorized
 Person, acting alone or with one or more Authorized Persons, be, and each of them hereby is,
 authorized, empowered, and directed to execute, deliver, and perform each Company’s
 obligations under the Engagement Letter on behalf of the Companies and in its name with such
 changes therein or additions, deletions, or modifications thereto as the Authorized Person
 signing the same may approve, such approval may be conclusively evidenced by such
 Authorized Person’s execution and delivery of the Engagement Letter.

         Appointment of Chief Financial Officer

         RESOLVED, that Holly Etlin be, and hereby is, appointed and elected to serve as an
 officer of the Company and to hold the position of Chief Financial Officer;

          RESOLVED, that Ms. Etlin shall serve in accordance with the Bylaws, as shall be in
 effect from time to time, with such other authority and responsibility as is customary for such
 position and title and shall act in such capacity until her successor is duly elected and qualified
 or, if earlier, until her successor has been duly elected or until her death, resignation or removal;
 and

         RESOLVED, that, as an officer of the Company, Ms. Etlin is authorized to sign and
 deliver any agreement in the name of the Company and to otherwise obligate the Company in
 any respect relating to matters of the business of the Company, and to delegate such authority
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 in her discretion, within the policies of the Company as approved from time to time by the
 Board.

         Retention of Professionals

        RESOLVED, each of the Authorized Persons, be, and hereby are, authorized,
 empowered, and directed to employ on behalf of the Company: (i) the law firm of Kirkland &
 Ellis LLP and Kirkland & Ellis International LLP (together, “Kirkland”) as bankruptcy
 counsel; (ii) the law firm of Cole Schotz as local bankruptcy counsel; (iii) Lazard as investment
 banker; (iv) AlixPartners LLP as restructuring advisor; (v) Deloitte as tax advisor; (vi) Kroll
 Restructuring Administration as claims and noticing agent; and (vii) any other legal counsel,
 accountants, financial advisors, restructuring advisors or other professionals the Authorized
 Persons deem necessary, appropriate or advisable; each to represent and assist the Company in
 carrying out its duties and responsibilities and exercising its rights under the Bankruptcy Code
 and any applicable law (including, but not limited to, the law firms filing any pleadings or
 responses); and in connection therewith, the Authorized Persons, be, and hereby are authorized,
 empowered and directed, in accordance with the terms and conditions hereof, to execute
 appropriate retention agreements, pay appropriate retainers, and to cause to be filed appropriate
 applications for authority to retain such services; and

        RESOLVED, each of the Authorized Persons, be, and hereby are, authorized,
 empowered and directed to execute and file all petitions, schedules, motions, lists, applications,
 pleadings, and other papers, and to perform such further actions and execute such further
 documentation that the Authorized Persons in their absolute discretion deem necessary,
 appropriate or desirable in accordance with these resolutions.

         Use of Cash Collateral, Debtor-in-Possession Financing, and Adequate Protection

          RESOLVED, to the extent applicable to the Companies, in the business judgment of
 the Authorizing Bodies it is desirable and in the best interest of the Companies, their
 stakeholders, their creditors, and other parties in interest to obtain the benefits of (i) the use of
 cash collateral, as such term is defined in section 363(a) of the Bankruptcy Code (“Cash
 Collateral”), which is security for certain of the Companies’ prepetition secured lenders (the
 “Prepetition Secured Lenders”) under certain credit facilities by and among the Companies,
 the guarantors party thereto, and the lenders party thereto; and (ii) the incurrence of debtor-in-
 possession financing obligations (“DIP Financing”) by entering into that certain Superpriority
 Senior Secured Debtor-in-Possession Term Loan Credit Agreement (together with all exhibits,
 schedules, and annexes thereto, as amended, amended and restated, supplemented, or otherwise
 modified from time to time, the “DIP Credit Agreement”) by and among Bed Bath & Beyond,
 certain of the Companies, the financial institutions from time to time party thereto and their
 successors and assigns (collectively the “DIP Lenders”), Sixth Street Specialty Lending, Inc.
 in its capacity as administrative agent for the DIP Lenders (in such capacity and together with
 any successor or assigns, the “DIP Agent”) on the terms set forth therein;

         RESOLVED, in order to use and obtain the benefits of DIP Financing and the Cash
 Collateral, and in accordance with section 363 of the Bankruptcy Code, each Company will
 provide certain adequate protection to the Prepetition Secured Lenders (the “Adequate
 Protection Obligations”) as documented in proposed interim and final orders (collectively, the
 “Financing Orders”) to be submitted for approval of the Bankruptcy Court, and, to the extent
 that each Company is required to obtain consent from the Prepetition Secured Lenders to enter
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 into any of the DIP Facility Documents, as defined herein, such consent has been (or will be)
 obtained from the Consenting Creditors;

         RESOLVED, in the business judgment of the Authorizing Bodies, the form, terms, and
 provisions of the DIP Credit Agreements and such other agreements, certificates, instruments,
 receipts, petitions, motions, or other papers or documents required to consummate the
 transaction considered by the Financing Orders (collectively, the “DIP Facility Documents”),
 substantially in the forms circulated to the Authorizing Bodies, and each Company’s execution,
 delivery and performance of its obligations under the DIP Facility Documents, including
 without limitation the grant of security interests under the DIP Facility Documents, and any
 borrowings or guaranty therewith, be, and hereby are, in all respects, authorized and approved:

       RESOLVED, each Company will obtain benefits from the incurrence of the borrowings
 under the DIP Credit Agreement and the other obligations under the DIP Credit Agreement and
 the other Loan Documents (as defined in the DIP Credit Agreement) which are necessary and
 convenient to the conduct, promotion, and attainment of the business of such Company;

       RESOLVED, to the extent applicable, each Company shall be, and is hereby, authorized
 to enter into the DIP Facility Documents and incur the obligations thereunder (the “DIP
 Obligations”), including the borrowing of the loans under the DIP Credit Agreement, and other
 obligations related to the DIP Financing and to undertake any and all related transactions on
 substantially the same terms as contemplated under the DIP Facility Documents, including
 granting liens on and security interests in its assets, including the Collateral (as defined in the
 DIP Credit Agreement), to the DIP Agent, and each of the Authorized Persons be, and hereby
 are, authorized, empowered, and directed in the name of, and on behalf of, each Company to
 execute deliver, and perform all of the obligations and the transactions contemplated under each
 of the DIP Facility Documents in the name and on behalf of each Company, with such changes,
 additions, and modifications thereto as such Authorized Person shall approve, with such
 approval to be conclusively evidenced by such Authorized Person’s execution and delivery
 thereof;

        RESOLVED, each of the Authorized Persons be, and hereby are, authorized, in the name
 and on behalf of each Company, to take all such further actions, or cause all such further actions
 to be taken and to execute and deliver all such further agreements, documents, instruments,
 certificates recordings, and filings, in the name and on behalf of each Company, as in the
 determination of such Authorized Person shall be necessary, proper, or advisable in order to
 fully carry out the intent and accomplish the purposes of the foregoing resolutions and to
 consummate the transactions contemplated thereby, such authority to be conclusively evidenced
 by the execution of any document or the taking of any such action by such Authorized Person;

       RESOLVED, each of the Authorized Persons be, and hereby are, authorized, in the name
 and on behalf of each Company, to enter into any guarantees as described or contemplated by
 the DIP Facility Documents or any other documents, certificates, instruments, agreements,
 intercreditor agreements, any extension amendment, any incremental agreement, or any other
 amendment required to consummate the transactions contemplated by the DIP Facility
 Documents and perform its obligations thereunder and to guarantee the payment and
 performance of the DIP Obligations of the Companies and any other guarantor thereunder;

       RESOLVED, each of the Authorized Persons be, and hereby are, authorized,
 empowered, and directed in the name of, and on behalf of, each Company to seek authorization
 to incur the DIP Obligations and approval to use Cash Collateral pursuant to the Financing
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 Orders, and any Authorized Person be, and hereby is, authorized, empowered, and directed to
 negotiate, execute, and deliver any and all agreements, instruments, or documents, by or on
 behalf of the Company, necessary to implement the postpetition financing, including the
 Adequate Protection Obligations to the Prepetition Secured Lenders in accordance with
 section 363 of the Bankruptcy Code, as well as any additional or further agreements for entry
 into the DIP Facility Documents and the use of Cash Collateral in connection with the chapter
 11 case, which agreements may require the Companies to grant adequate protection and liens
 to the Prepetition Secured Lenders and each other agreement, instrument, or document to be
 executed and delivered in connection therewith, by or on behalf of the Companies pursuant
 thereto or in connection therewith, all with such changes therein and additions thereto as any
 Authorized Person approves, such approval to be conclusively evidenced by the taking of such
 action or by the execution and delivery thereof;

       RESOLVED, each of the Authorized Persons be, and hereby are, authorized, directed,
 and empowered, in the name of, and on behalf of, the Company to take such actions and
 negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause the
 performance of, each of the transactions contemplated by the DIP Facility Documents and such
 other agreements, certificates, instruments, receipts, petitions, motions, or other papers or
 required documents to which the Company is or will be party or any order entered into in
 connection with the chapter 11 case (together with the DIP Facility Documents and the
 Financing Orders, collectively, the “Financing Documents”) and to incur and pay or cause to
 be paid all related fees and expenses, with such changes, additions and modifications thereto as
 an Authorized Person executing the same shall approve;

        RESOLVED, the Company, as debtors and debtors-in-possession under the Bankruptcy
 Code be, and hereby are, authorized, empowered, and directed to incur any and all obligations
 and to undertake any and all related transactions on substantially the same terms as
 contemplated under the Financing Documents, including granting liens on its assets to secure
 such obligations; and

         RESOLVED, each of the Authorized Persons, be, and hereby are, authorized,
 empowered, and directed in the name of, and on behalf of, the Company, to execute and deliver
 any amendments, supplements, modifications, renewals, replacements, consolidations,
 substitutions, and extensions of the postpetition financing or any of the Financing Documents
 or to do such other things which shall in his or her sole business judgment be necessary,
 desirable, proper, or advisable in order to perform the DIP Obligations and to give effect to the
 foregoing resolutions, which determination shall be conclusively evidenced by his or her or
 their execution thereof.

        Further Actions and Prior Actions

         RESOLVED, the Company is hereby authorized to authorize (and the Company hereby
 authorizes) any direct or indirect subsidiary of the Company or any entity of which such
 Company or any subsidiary of such Company is the sole member, general partner, managing
 member, or equivalent manager, as applicable, to take each of the actions described in these
 resolutions or any of the actions authorized in these resolutions, and none of the resolutions
 contained herein, or action taken in furtherance hereto, shall have or cause an adverse effect on
 any such subsidiary or such Company’s interest therein (including without limitation, any
 automatic dissolution, divestiture, dissociation, or like event under applicable law).
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        RESOLVED, in addition to the specific authorizations heretofore conferred upon the
 Authorized Persons, the Authorized Persons, either individually or as otherwise required by the
 Company’s governing documents and applicable law, be, and each of them hereby is, authorized
 to execute, acknowledge, deliver, and file any and all agreements, certificates, instruments,
 powers of attorney, letters, forms, transfer, deeds and other documents on behalf of the
 Company relating to the Restructuring Matters.

         RESOLVED, each of the Authorized Persons (and their designees and delegates) be,
 and hereby is, authorized and empowered, in the name of and on behalf of the Company, to take
 or cause to be taken any all such other and further action, and to execute, acknowledge, deliver,
 and file any and all such agreements, certificates, instruments, and other documents and to pay
 all expenses, including but not limited to filing fees, in each case as in such Authorized Person’s
 or Authorized Persons’ absolute discretion, shall be necessary, appropriate, or desirable in order
 to fully carry out the intent and accomplish the purposes of the resolution adopted herein.

         RESOLVED, the Board has received sufficient notice of the actions and transactions
 relating to the matters contemplated by the foregoing resolutions, as may be required by the
 governing documents of the Company, or hereby waives any right to have received such notice.

         RESOLVED, all acts, actions, and transactions relating to the matters contemplated by
 the foregoing resolutions done in the name of and on behalf of the Company, which acts would
 have been approved by the foregoing resolutions except that such acts were taken before the
 adoption of these resolutions, are hereby in all respects approved, confirmed and ratified as the
 true acts and deeds of the Company with the same force and effect as if each such act,
 transaction, agreement, or certificate had been specifically authorized in advance by resolution
 of the Board.

         RESOLVED, any Authorized Person be, and each of them hereby is, authorized to do
 all such other acts, deeds and other things as the Company itself may lawfully do, in accordance
 with its governing documents and applicable law, howsoever arising in connection with the
 matters above, or in furtherance of the intentions expressed in the foregoing resolutions,
 including, but not limited to, the negotiation, finalization, execution and delivery of any other
 agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds and
 other documents whatsoever as the individual acting may in his/her absolute and unfettered
 discretion approve, deem or determine necessary, appropriate or advisable, such approval,
 deeming or determination to be conclusively evidenced by said individual taking such action or
 the execution thereof.



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    Fill in this information to identify the case and this filing:

   Debtor Name          Bed Bath & Beyond Inc.

   United States Bankruptcy Court for the:                District of New Jersey
                                                                                                    (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                        04/23/2023                                  /s/
                                        MM/ DD/YYYY                                Signature of individual signing on behalf of debtor
                                                                                   Holly Etlin
                                                                                   Printed name
                                                                                   Chief Financial Officer and Chief Restructuring Officer”
                                                                                   Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                           Document    Page 113 of 135



                                      Exhibit B-2

 Order (I) Directing Joint Administration of Chapter 11 Cases and (II) Granting Related
                                 Relief [Docket No. 75]
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Caption in Compliance with D.N.J. LBR 9004-1(b)
KIRKLAND & ELLIS LLP
KIRKLAND & ELLIS INTERNATIONAL LLP
Joshua A. Sussberg, P.C. (pro hac vice pending)
Emily E. Geier, P.C. (pro hac vice pending)
Derek I. Hunter (pro hac vice pending)
601 Lexington Avenue                                                               Order Filed on April 24, 2023
New York, New York 10022                                                           by Clerk
Telephone: (212) 446-4800                                                          U.S. Bankruptcy Court
Facsimile: (212) 446-4900                                                          District of New Jersey
joshua.sussberg@kirkland.com
emily.geier@kirkland.com
derek.hunter@kirkland.com

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Telephone: (201) 489-3000
msirota@coleschotz.com
wusatine@coleschotz.com
fyudkin@coleschotz.com

Proposed Co-Counsel for Debtors and Debtors in Possession




In re:

Bed Bath & Beyond Inc.,                                               Chapter 11

                               Debtor. 1                              Case No. 23-13359 (VFP)
Tax I.D. No. XX-XXXXXXX




    1
         The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
         the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
         website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The
         location of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
         Chapter 11 Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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In re:

Alamo Bed Bath & Beyond Inc.,               Chapter 11

                           Debtor.          Case No. 23-13360 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

BBB Canada LP Inc.,                         Chapter 11
                           Debtor.
                                            Case No. 23-13361 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

BBB Value Services Inc.,                    Chapter 11
                           Debtor.
                                            Case No. 23-13362 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

BBBY Management Corporation,                Chapter 11
                           Debtor.
                                            Case No. 23-13363 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

BBBYCF LLC,                                 Chapter 11
                           Debtor.
                                            Case No. 23-13364 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

BBBYTF LLC,                                 Chapter 11
                           Debtor.
                                            Case No. 23-13365 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Annapolis, Inc.,       Chapter 11

                           Debtor.          Case No. 23-13366 (VFP)
Tax I.D. No. XX-XXXXXXX




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In re:

Bed Bath & Beyond of Arundel Inc.,                           Chapter 11

                          Debtor.                            Case No. 23-13367 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Baton Rouge Inc.,                       Chapter 11
                          Debtor.
                                                             Case No. 23-13368 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Birmingham Inc.,                        Chapter 11
                          Debtor.
                                                             Case No. 23-13369 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Bridgewater Inc.,                       Chapter 11
                          Debtor.
                                                             Case No. 23-13370 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of California Limited Liability Company,   Chapter 11
                          Debtor.
                                                             Case No. 23-13371 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Davenport Inc.,                         Chapter 11
                          Debtor.
                                                             Case No. 23-13372 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of East Hanover Inc.,                      Chapter 11
                          Debtor.
                                                             Case No. 23-13373 (VFP)
Tax I.D. No. XX-XXXXXXX




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In re:

Bed Bath & Beyond of Edgewater Inc.,             Chapter 11
                          Debtor.
                                                 Case No. 23-13374 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Falls Church, Inc.,         Chapter 11
                          Debtor.
                                                 Case No. 23-13375 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Fashion Center, Inc.,       Chapter 11
                          Debtor.
                                                 Case No. 23-13376 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Frederick, Inc.,            Chapter 11
                          Debtor.
                                                 Case No. 23-13377 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Gaithersburg Inc.,          Chapter 11
                          Debtor.
                                                 Case No. 23-13378 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Gallery Place L.L.C.,       Chapter 11
                          Debtor.
                                                 Case No. 23-13379 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Knoxville Inc.,             Chapter 11
                          Debtor.
                                                 Case No. 23-13380 (VFP)
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In re:

Bed Bath & Beyond of Lexington Inc.,           Chapter 11
                          Debtor.
                                               Case No. 23-13381 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Lincoln Park Inc.,        Chapter 11
                          Debtor.
                                               Case No. 23-13382 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Louisville Inc.,          Chapter 11
                          Debtor.
                                               Case No. 23-13383 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Mandeville Inc.,          Chapter 11
                          Debtor.
                                               Case No. 23-13384 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Opry Inc.,                Chapter 11
                          Debtor.
                                               Case No. 23-13385 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Overland Park Inc.,       Chapter 11
                          Debtor.
                                               Case No. 23-13386 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Palm Desert Inc.,         Chapter 11
                          Debtor.
                                               Case No. 23-13387 (VFP)
Tax I.D. No. XX-XXXXXXX




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In re:

Bed Bath & Beyond of Paradise Valley Inc.,       Chapter 11
                          Debtor.
                                                 Case No. 23-13388 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Pittsford Inc.,             Chapter 11
                          Debtor.
                                                 Case No. 23-13389 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Portland Inc.,              Chapter 11
                          Debtor.
                                                 Case No. 23-13390 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Rockford Inc.,              Chapter 11
                          Debtor.
                                                 Case No. 23-13391 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Towson Inc.,                Chapter 11
                          Debtor.
                                                 Case No. 23-13392 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Virginia Beach Inc.,        Chapter 11
                          Debtor.
                                                 Case No. 23-13393 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Waldorf Inc.,               Chapter 11
                          Debtor.
                                                 Case No. 23-13394 (VFP)
Tax I.D. No. XX-XXXXXXX




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In re:

Bed Bath & Beyond of Woodbridge Inc.,       Chapter 11
                           Debtor.
                                            Case No. 23-13395 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

bed ‘n bath Stores Inc.,                    Chapter 11
                           Debtor.
                                            Case No. 23-13396 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Bed Bath & Beyond of Manhattan, Inc.,       Chapter 11
                           Debtor.
                                            Case No. 23-13397 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Buy Buy Baby of Rockville, Inc.,            Chapter 11
                           Debtor.
                                            Case No. 23-13398 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Buy Buy Baby of Totowa, Inc.,               Chapter 11
                           Debtor.
                                            Case No. 23-13399 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Buy Buy Baby, Inc.,                         Chapter 11
                           Debtor.
                                            Case No. 23-13400 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

BWAO LLC,                                   Chapter 11
                           Debtor.
                                            Case No. 23-13401 (VFP)
Tax I.D. No. XX-XXXXXXX




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In re:

Chef C Holdings LLC,                        Chapter 11
                             Debtor.
                                            Case No. 23-13402 (VFP)
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In re:

Decorist, LLC,                              Chapter 11
                             Debtor.
                                            Case No. 23-13403 (VFP)
Tax I.D. No. XX-XXXXXXX

In re:

Deerbrook Bed Bath & Beyond Inc.,           Chapter 11

                             Debtor.        Case No. 23-13404 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Brentwood, Inc.,                  Chapter 11

                             Debtor.        Case No. 23-13405 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Caldwell, Inc.,                   Chapter 11

                             Debtor.        Case No. 23-13406 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Carlstadt, Inc.,                  Chapter 11

                             Debtor.        Case No. 23-13407 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Franklin, Inc.,                   Chapter 11

                             Debtor.        Case No. 23-13408 (VFP)

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In re:

Harmon of Greenbrook II, Inc.,              Chapter 11

                             Debtor.        Case No. 23-13409 (VFP)

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In re:

Harmon of Hackensack, Inc.,                 Chapter 11

                             Debtor.        Case No. 23-13410 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Hanover, Inc.,                    Chapter 11

                             Debtor.        Case No. 23-13411 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Hartsdale, Inc.,                  Chapter 11

                             Debtor.        Case No. 23-13412 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Manalapan, Inc.,                  Chapter 11

                             Debtor.        Case No. 23-13413 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Massapequa, Inc.,                 Chapter 11

                             Debtor.        Case No. 23-13414 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Melville, Inc.,                   Chapter 11

                             Debtor.        Case No. 23-13415 (VFP)

Tax I.D. No. XX-XXXXXXX

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In re:

Harmon of New Rochelle, Inc.                Chapter 11

                           Debtor.          Case No. 23-13416 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Newton, Inc.,                     Chapter 11

                           Debtor.          Case No. 23-13417 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Old Bridge, Inc.,                 Chapter 11

                           Debtor.          Case No. 23-13418 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Plainview, Inc.,                  Chapter 11

                           Debtor.          Case No. 23-13419 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Raritan, Inc.,                    Chapter 11

                           Debtor.          Case No. 23-13420 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Rockaway, Inc.,                   Chapter 11

                           Debtor.          Case No. 23-13421 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Shrewsbury, Inc.,                 Chapter 11

                           Debtor.          Case No. 23-13422 (VFP)

Tax I.D. No. XX-XXXXXXX

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In re:

Harmon of Totowa, Inc.,                     Chapter 11

                             Debtor.        Case No. 23-13423 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Wayne, Inc.,                      Chapter 11

                             Debtor.        Case No. 23-13424 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Westfield, Inc.,                  Chapter 11

                             Debtor.        Case No. 23-13425 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon of Yonkers, Inc.,                    Chapter 11

                             Debtor.        Case No. 23-13426 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Harmon Stores, Inc.,                        Chapter 11

                             Debtor.        Case No. 23-13427 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Liberty Procurement Co. Inc.,               Chapter 11

                             Debtor.        Case No. 23-13428 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Of a Kind, Inc.,                            Chapter 11

                             Debtor.        Case No. 23-13429 (VFP)

Tax I.D. No. XX-XXXXXXX

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In re:

One Kings Lane LLC,                                         Chapter 11

                          Debtor.                           Case No. 23-13430 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

San Antonio Bed Bath & Beyond Inc.,                         Chapter 11

                          Debtor.                           Case No. 23-13431 (VFP)

Tax I.D. No. XX-XXXXXXX

In re:

Springfield Buy Buy Baby, Inc.,                             Chapter 11

                          Debtor.                           Case No. 23-13432 (VFP)

Tax I.D. No. XX-XXXXXXX                                    (Jointly Administered)

                    ORDER (I) DIRECTING JOINT ADMINISTRATION OF
                  CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

            The relief set forth on the following pages, numbered thirteen (13) through fifteen (15), is

   ORDERED.




   DATED: April 24, 2023




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Debtors:          BED BATH & BEYOND INC., et al.
Case No.          23-13359 (VFP)
Caption of Order: Order (I) Directing Joint Administration of Chapter 11 Cases and
                  (II) Granting Related Relief

        Upon the Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of

Chapter 11 Cases and (II) Granting Related Relief (the “Motion”), 2 of the above-captioned

debtors and debtors in possession (collectively, the “Debtors”), for entry of an order (this “Order”)

(a) authorizing the Debtors to direct the joint administration of the Debtors’ Chapter 11 Cases for

procedural purposes only and (b) granting related relief, all as more fully set forth in the Motion;

and upon the First Day Declaration; and the Court having jurisdiction to consider the Motion and

the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

Reference to the Bankruptcy Court Under Title 11 of the United States District Court for the

District of New Jersey, entered July 23, 1984, and amended on September 18, 2012

(Simandle, C.J.); and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion was

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and upon all

of the proceedings had before the Court and after due deliberation and sufficient cause appearing

therefor,




2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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Debtors:               BED BATH & BEYOND INC., et al.
Case No.               23-13359 (VFP)
Caption of Order:      Order (I) Directing Joint Administration of Chapter 11 Cases and
                       (II) Granting Related Relief

        IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      The above–captioned cases hereby are jointly administrated by this Court for

procedural purposes only.

       3.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these Chapter 11 Cases, and

this Order shall be without prejudice to the rights of the Debtors to seek entry of an order

substantively consolidating their respective cases.

       4.      The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the District of New Jersey shall keep, one consolidated docket, one file, and one consolidated

service list for these Chapter 11 Cases.

       5.      All pleadings, papers, and documents filed in the Lead Case shall bear the caption

as shown in Exhibit 1 attached hereto.

       6.      The caption shown in Exhibit 1 attached hereto satisfies the requirements set forth

in section 342(c)(1) of the Bankruptcy Code.

       7.      All lists, schedules, and statements shall be filed and docketed in the specific

Debtor’s case to which they are applicable.

       8.      Any party in interest may request joint hearings on matters pending in any of these

Chapter 11 Cases.

       9.      If pleadings, papers, or documents have been filed in any of the above–captioned

cases other than the Lead Case prior to the entry of this Order, and those matters have not yet been


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Debtors:                BED BATH & BEYOND INC., et al.
Case No.                23-13359 (VFP)
Caption of Order:       Order (I) Directing Joint Administration of Chapter 11 Cases and
                        (II) Granting Related Relief

heard and decided, the party who filed the pleading, paper, or document shall (i) refile the pleading,

paper, or document in the Lead Case within three (3) business days of the entry of this Order,

(ii) set the pleading, paper, or document for hearing before the judge assigned to the Lead Case,

and (iii) notice the hearing to all appropriate parties.

        10.     The Clerk shall file a copy of this order in the Lead Case and each of the affiliated

Debtor cases.

        11.     The Debtors shall file individual monthly operating reports for each Debtor and

such reports shall be docketed in the Lead Case.

        12.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

        13.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of the Local Rules are satisfied by such notice.

        14.     Any party may move for modification of this Order in accordance with

Local Rule 9013-5(e).

        15.     A true copy of this Order shall be served on all required parties pursuant to

Local Rule 9013-5(f).

        16.     This Order shall be effective immediately upon entry.

        17.     The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Order.




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                                  Exhibit 1

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    KIRKLAND & ELLIS INTERNATIONAL LLP
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    Emily E. Geier, P.C. (pro hac vice pending)
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    New York, New York 10022
    Telephone: (212) 446-4800
    Facsimile: (212) 446-4900
    joshua.sussberg@kirkland.com
    emily.geier@kirkland.com
    derek.hunter@kirkland.com

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    wusatine@coleschotz.com
    fyudkin@coleschotz.com

    Proposed Co-Counsel for Debtors and
    Debtors in Possession


                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


In re:                                                         Chapter 11

BED BATH & BEYOND INC., et al.,                                Case No. 23-13359 (VFP)

                                        Debtors. 1             (Jointly Administered)




1
      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
      the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The
      location of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
      Chapter 11 Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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                                    Exhibit B-3

  Order Enlarging the Period Within Which the Debtors May Remove Actions and (II)
                      Granting Related Relief [Docket No. 1403]
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     Caption in Compliance with D.N.J. LBR 9004-1(b)
     KIRKLAND & ELLIS LLP
     KIRKLAND & ELLIS INTERNATIONAL LLP Joshua
     A. Sussberg, P.C. (admitted pro hac vice) Emily E. Geier,
     P.C. (admitted pro hac vice)
     Derek I. Hunter (admitted pro hac vice)                                      Order Filed on July 18, 2023
     601 Lexington Avenue                                                         by Clerk
     New York, New York 10022                                                     U.S. Bankruptcy Court
     Telephone: (212) 446-4800                                                    District of New Jersey
     Facsimile: (212) 446-4900
     joshua.sussberg@kirkland.com
     emily.geier@kirkland.com
     derek.hunter@kirkland.com

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     Warren A. Usatine, Esq.
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     Telephone: (201) 489-3000
     msirota@coleschotz.com
     wusatine@coleschotz.com
     fyudkin@coleschotz.com

     Co-Counsel for Debtors and Debtors in Possession
                                                                        Chapter 11
     In re:
     BED BATH & BEYOND INC., et al.,                                    Case No. 23-13359 (VFP)

              Debtors.1                                                 (Jointly Administered)

            ORDER (I) ENLARGING THE PERIOD WITHIN WHICH THE
       DEBTORS MAY REMOVE ACTIONS AND (II) GRANTING RELATED RELIEF
            The relief set forth on the following pages, numbered three (3) through four (4), is

 ORDERED.




  DATED: July 18, 2023




 1      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11
        Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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 Debtors:          BED BATH & BEYOND INC., et al.
 Case No.          23-13359-VFP
 Caption of Order: ORDER (I) ENLARGING THE PERIOD WITHIN WHICH THE
                   DEBTORS MAY REMOVE ACTIONS AND (II) GRANTING
                   RELATED RELIEF

         Upon the Debtors’ Motion for Entry of an Order (I) Enlarging The Period Within Which

 the Debtors May Remove Actions and (II) Granting Related Relief (the “Motion”),2 of the above-

 captioned debtors and debtors in possession (collectively, the “Debtors”), for entry of an order

 (this “Order”) (a) authorizing the Debtors to enlarge the Removal Period for filing notices of

 removal of the Actions by 120 days, up to and including November 21, 2023, without prejudice to

 the Debtors’ right to seek further extensions, and (b) granting related relief, all as more fully set

 forth in the Motion; and upon the First Day Declaration; and the Court having jurisdiction to

 consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and

 the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the United States

 District Court for the District of New Jersey, entered July 23, 1984, and amended on September

 18, 2012 (Simandle, C.J.); and this Court having found that venue of this proceeding and the

 Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

 found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

 creditors, and other parties in interest; and this Court having found that the Debtors’ notice of the

 Motion was appropriate under the circumstances and no other notice need be provided; and this

 Court having reviewed the Motion and having heard the statements in support of the relief

 requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

 that the legal and factual bases set forth in the Motion establish just cause for the relief granted




 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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 Debtors:          BED BATH & BEYOND INC., et al.
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 Caption of Order: ORDER (I) ENLARGING THE PERIOD WITHIN WHICH THE
                   DEBTORS MAY REMOVE ACTIONS AND (II) GRANTING
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 herein; and upon all of the proceedings had before the Court and after due deliberation and

 sufficient cause appearing therefor IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED on a basis as set forth herein.

        2.      The period within which the Debtors may file a notice of removal with respect to

 any proceeding related to these Chapter 11 Cases is extended through and including

 November 21, 2023.

        3.      The extension granted by this Order is without prejudice to the Debtors’ right to

 seek further extensions of time to file notices of removal with respect to proceedings related to

 these Chapter 11 Cases.

        4.      This Order shall be without prejudice to any position the Debtors may take

 regarding whether section 362 of the Bankruptcy Code applies to stay any Action.

        5.      Nothing in this Order shall be construed as modifying or terminating any stay

 applicable to any act, action or proceeding pursuant to section 362 of the Bankruptcy Code, or any

 order entered by this Court pursuant to section 105 of the Bankruptcy Code.

        6.      All time periods set forth in this Order shall be calculated in accordance with

 Bankruptcy Rule 9006(a).

        7.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.

        8.      Notwithstanding Bankruptcy Rule 6004(h), to the extent applicable, this Order shall

 be effective and enforceable immediately upon entry hereof.
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 Debtors:          BED BATH & BEYOND INC., et al.
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        9.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion.

        10.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        11.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.
